             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 1 of 55


Albany County Remedial Redistricting Map—April 13, 2015
Block Equivalency File
360010143024000, District 38     360010142014029, District 36   360010128003010, District 17
360010143021015, District 36     360010141004015, District 33   360010128004015, District 17
360010143022027, District 38     360010143023013, District 35   360010128003006, District 17
360010142014018, District 36     360010143023010, District 35   360010129002018, District 17
360010141004007, District 9      360010141003012, District 34   360010130005010, District 18
360010143012043, District 36     360010143024085, District 38   360010130003000, District 18
360010141002017, District 9      360010143024067, District 36   360010127002005, District 17
360010142023031, District 33     360010144011056, District 37   360010129004002, District 18
360010142035018, District 38     360010144011074, District 37   360010127001019, District 17
360010141003026, District 9      360010144012057, District 37   360010127001020, District 17
360010141003021, District 34     360010144013063, District 37   360010127003000, District 17
360010142021000, District 34     360010144021014, District 37   360010127002021, District 17
360010141003028, District 34     360010144011072, District 37   360010130001014, District 18
360010143012002, District 36     360010144021004, District 37   360010127002002, District 17
360010142013011, District 35     360010144013065, District 37   360010135052000, District 21
360010142024006, District 33     360010144012054, District 37   360010137031062, District 22
360010142022015, District 34     360010144022032, District 37   360010135032015, District 18
360010142022021, District 34     360010144011058, District 37   360010136021000, District 14
360010142022022, District 34     360010144022031, District 37   360010136021056, District 14
360010142034014, District 34     360010144012037, District 37   360010140013004, District 26
360010142021014, District 34     360010144011021, District 37   360010140011005, District 24
360010142034008, District 34     360010144011066, District 37   360010136023026, District 14
360010142035035, District 35     360010144011064, District 37   360010138016014, District 27
360010142033003, District 34     360010144021008, District 37   360010136014008, District 21
360010142034005, District 34     360010144022037, District 37   360010137031137, District 22
360010142032000, District 34     360010144021011, District 37   360010136021036, District 14
360010142032001, District 34     360010130002008, District 18   360010135072000, District 22
360010142031009, District 34     360010130005023, District 18   360010136014011, District 21
360010142011008, District 34     360010128001015, District 17   360010136023014, District 14
360010142012007, District 35     360010130004004, District 16   360010135063003, District 20
360010142011017, District 34     360010130001001, District 18   360010138012029, District 27
360010142012011, District 35     360010129001015, District 18   360010137052007, District 24
360010142013005, District 35     360010129003007, District 18   360010135083036, District 19
360010142012016, District 35     360010129003006, District 18   360010135083032, District 19
360010142013030, District 35     360010129003003, District 18   360010137052002, District 24
360010142013029, District 35     360010130003008, District 18   360010137052009, District 24
360010142035029, District 38     360010130003004, District 17   360010135063008, District 20
360010142014026, District 36     360010130004003, District 16   360010139011017, District 26


Block Equivalency File                       April 13, 2015                                    Page 1
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 2 of 55

360010138017006, District 27     360010001001037, District 3    360010026003001, District 1
360010136011013, District 15     360010020005037, District 1    360010026004031, District 1
360010137031082, District 22     360010002001005, District 3    360010023002019, District 6
360010137031080, District 22     360010004034014, District 11   360010025005005, District 1
360010136014028, District 14     360010011001053, District 6    360010026003016, District 1
360010137072039, District 25     360010014003013, District 5    360010025003005, District 6
360010135061048, District 16     360010004034011, District 11   360010025003011, District 6
360010137061021, District 25     360010004034026, District 11   360010025003009, District 6
360010135061060, District 16     360010004034054, District 11   360010011001132, District 6
360010137031073, District 22     360010020005026, District 1    360010004011078, District 12
360010138022000, District 22     360010011001026, District 6    360010003001020, District 11
360010135033013, District 20     360010020005043, District 1    360010020005008, District 9
360010137031079, District 22     360010003001005, District 12   360010020004005, District 8
360010136014033, District 21     360010003001023, District 11   360010016003000, District 7
360010137031058, District 22     360010003001032, District 11   360010004011012, District 12
360010136014009, District 21     360010003003022, District 3    360010011001145, District 6
360010136021016, District 14     360010011001144, District 6    360010011001124, District 6
360010137031088, District 22     360010003001033, District 12   360010011001146, District 6
360010137031003, District 22     360010014003027, District 5    360010025001029, District 6
360010140023010, District 25     360010004034058, District 11   360010019023004, District 9
360010136013003, District 21     360010004011062, District 12   360010025003014, District 6
360010137072030, District 23     360010004011006, District 12   360010018022000, District 11
360010136011047, District 14     360010017001002, District 13   360010018021004, District 11
360010136014010, District 21     360010002001026, District 3    360010020005010, District 9
360010136014018, District 14     360010004011024, District 12   360010003003016, District 3
360010137031112, District 23     360010004011068, District 12   360010020001003, District 8
360010137053029, District 25     360010003004018, District 3    360010025002012, District 6
360010137054013, District 25     360010003004011, District 3    360010007001001, District 3
360010136022008, District 14     360010003003011, District 3    360010008001002, District 2
360010137031021, District 22     360010004032013, District 13   360010017003012, District 8
360010138021024, District 22     360010017001013, District 10   360010019022002, District 10
360010138021019, District 22     360010017001016, District 10   360010018015004, District 9
360010139023012, District 23     360010017003000, District 10   360010004034025, District 11
360010137073019, District 23     360010017001021, District 10   360010004034023, District 11
360010139012014, District 26     360010017002007, District 10   360010014003003, District 5
360010139012005, District 26     360010017002001, District 10   360010018013021, District 10
360010139021016, District 23     360010005022019, District 13   360010004034003, District 11
360010139021004, District 23     360010016004001, District 10   360010019022003, District 10
360010139022004, District 26     360010019013008, District 8    360010011001051, District 6
360010139022005, District 26     360010001001049, District 3    360010014003018, District 5
360010004041009, District 12     360010001001003, District 3    360010003001037, District 11
360010026004017, District 1      360010026004040, District 1    360010020005007, District 9
360010017001018, District 10     360010026001006, District 1    360010004041024, District 12


Block Equivalency File                       April 13, 2015                                    Page 2
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 3 of 55

360010004034022, District 11     360010003003001, District 3    360010148011140, District 39
360010003003036, District 3      360010003003003, District 3    360010148011151, District 39
360010011001103, District 6      360010003003004, District 3    360010148011021, District 39
360010001002000, District 3      360010004011056, District 12   360010148011147, District 39
360010003001015, District 3      360010001002006, District 3    360010148011145, District 39
360010003001028, District 12     360010148011054, District 39   360010143023005, District 35
360010005022002, District 13     360010148011042, District 39   360010143011025, District 36
360010026004010, District 1      360010148012022, District 39   360010142035013, District 38
360010003003029, District 3      360010148012031, District 39   360010143024031, District 38
360010011001086, District 6      360010148012004, District 39   360010143024072, District 36
360010018022005, District 11     360010148012003, District 39   360010143012032, District 36
360010005022011, District 13     360010148012017, District 39   360010142035014, District 38
360010005022018, District 13     360010148012011, District 39   360010143022022, District 38
360010005014001, District 13     360010148012034, District 39   360010143024020, District 38
360010005022012, District 13     360010148012038, District 39   360010143012054, District 36
360010005012004, District 4      360010148012083, District 39   360010142014022, District 36
360010005012001, District 4      360010148012058, District 39   360010142013024, District 35
360010016001008, District 7      360010148011124, District 39   360010142014006, District 36
360010016001007, District 7      360010148012015, District 39   360010142011001, District 34
360010005011004, District 13     360010148011049, District 39   360010142014023, District 36
360010015001000, District 7      360010148012043, District 39   360010141004023, District 9
360010015004006, District 5      360010148011058, District 39   360010142024000, District 33
360010015004003, District 8      360010148012039, District 39   360010141004000, District 9
360010015003005, District 5      360010148011062, District 31   360010143022012, District 36
360010014003022, District 5      360010148011066, District 39   360010143022031, District 36
360010021003001, District 5      360010148011110, District 31   360010143024029, District 36
360010025003008, District 6      360010148012059, District 39   360010143012030, District 36
360010026004039, District 1      360010148011163, District 39   360010143012035, District 36
360010004033001, District 11     360010148011165, District 39   360010143012036, District 36
360010004033003, District 13     360010148011166, District 39   360010143011003, District 36
360010004031005, District 13     360010148011178, District 39   360010143011035, District 36
360010003001035, District 12     360010148011028, District 39   360010143021003, District 36
360010001001031, District 3      360010148011035, District 39   360010143012074, District 36
360010002004011, District 6      360010148012028, District 39   360010143012063, District 36
360010002004010, District 6      360010148011015, District 31   360010143012014, District 36
360010011001017, District 6      360010148011033, District 39   360010143024095, District 36
360010011001106, District 6      360010148011053, District 39   360010143024062, District 36
360010001001023, District 3      360010148011001, District 31   360010141002019, District 9
360010003003038, District 3      360010148011018, District 39   360010143023000, District 35
360010018022030, District 11     360010148011068, District 31   360010143023009, District 35
360010003003032, District 3      360010148011097, District 31   360010143021022, District 36
360010001001013, District 3      360010148011117, District 39   360010143021030, District 36
360010003003000, District 3      360010148011129, District 39   360010142035011, District 35


Block Equivalency File                       April 13, 2015                                    Page 3
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 4 of 55

360010142023006, District 33     360010144013034, District 37   360010140011017, District 24
360010143024008, District 38     360010144013020, District 37   360010140021001, District 24
360010142032024, District 35     360010144013024, District 37   360010137031095, District 22
360010018023015, District 11     360010144011073, District 37   360010135072014, District 22
360010018023010, District 11     360010128002008, District 17   360010140022001, District 24
360010018014013, District 10     360010127003015, District 17   360010137051015, District 24
360010018015029, District 9      360010127003004, District 17   360010135083027, District 19
360010018014014, District 10     360010128001001, District 17   360010135061003, District 16
360010018014017, District 10     360010127001001, District 17   360010135081010, District 19
360010026003021, District 1      360010127003003, District 17   360010137051010, District 24
360010018012012, District 10     360010127002013, District 17   360010137054006, District 25
360010002002008, District 2      360010127002023, District 17   360010135051004, District 21
360010002004009, District 6      360010129001003, District 18   360010135083058, District 19
360010011001089, District 6      360010129002009, District 17   360010135081017, District 19
360010002001003, District 3      360010135072009, District 22   360010135031010, District 19
360010001002003, District 3      360010136011018, District 14   360010135063005, District 20
360010001002004, District 3      360010138017019, District 26   360010135081020, District 18
360010002001010, District 3      360010140012006, District 26   360010135081016, District 19
360010004011000, District 12     360010139011013, District 26   360010135031000, District 19
360010011001052, District 6      360010135071001, District 22   360010135061022, District 20
360010018014010, District 10     360010137031011, District 22   360010135031002, District 19
360010004034051, District 11     360010137031053, District 22   360010135063017, District 20
360010004033007, District 11     360010139022008, District 26   360010135051003, District 21
360010018014006, District 10     360010139023013, District 26   360010135051008, District 21
360010018013025, District 10     360010140013003, District 26   360010020004002, District 8
360010018013017, District 10     360010138022002, District 22   360010020004006, District 9
360010003001045, District 11     360010137031013, District 22   360010020001006, District 8
360010143021005, District 36     360010137031012, District 22   360010020002004, District 1
360010143012029, District 36     360010135083043, District 22   360010020005025, District 1
360010141002010, District 9      360010138022011, District 22   360010002001036, District 3
360010144011076, District 37     360010138016001, District 27   360010007001007, District 3
360010144021000, District 37     360010135082014, District 19   360010011001152, District 2
360010144013050, District 37     360010135082004, District 19   360010020005028, District 1
360010144022005, District 37     360010135082006, District 19   360010003002002, District 4
360010144011001, District 37     360010135082017, District 19   360010007002002, District 4
360010144012010, District 37     360010135082019, District 19   360010007002001, District 4
360010144022025, District 37     360010135082033, District 19   360010006003017, District 5
360010144012060, District 37     360010139023015, District 26   360010008003005, District 4
360010144012061, District 37     360010140013014, District 26   360010008003004, District 4
360010144021001, District 37     360010137031122, District 26   360010008003000, District 4
360010144013052, District 37     360010140011014, District 24   360010021001001, District 5
360010144013058, District 37     360010135031013, District 19   360010008001005, District 2
360010144011051, District 37     360010138015009, District 27   360010014002002, District 2


Block Equivalency File                       April 13, 2015                                    Page 4
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 5 of 55

360010008001009, District 2      360010139022010, District 26   360010002002001, District 2
360010022001000, District 5      360010139022002, District 26   360010002001018, District 3
360010022001004, District 5      360010139012007, District 26   360010002001009, District 3
360010007003005, District 2      360010139023024, District 26   360010007003003, District 3
360010002002003, District 2      360010139011020, District 26   360010002002004, District 2
360010002001013, District 3      360010139023023, District 26   360010002001030, District 3
360010002001043, District 2      360010139011019, District 26   360010008001003, District 2
360010002004002, District 2      360010139011010, District 26   360010144022039, District 37
360010018015001, District 9      360010137031031, District 23   360010129002004, District 17
360010018024011, District 11     360010137031056, District 22   360010128001019, District 17
360010018024013, District 11     360010137031033, District 23   360010128001016, District 17
360010145022051, District 38     360010147001040, District 31   360010127002019, District 17
360010145023021, District 38     360010147001039, District 31   360010128001021, District 17
360010145023020, District 38     360010147001031, District 31   360010127002020, District 17
360010145011024, District 33     360010147002011, District 31   360010127002024, District 17
360010145011078, District 38     360010147002072, District 31   360010130004005, District 16
360010145022023, District 38     360010147002021, District 31   360010130002004, District 18
360010145022017, District 38     360010147002018, District 31   360010130002006, District 18
360010145021022, District 38     360010147002042, District 31   360010130002003, District 18
360010145012022, District 33     360010147002030, District 31   360010130002010, District 18
360010145011108, District 38     360010147002081, District 39   360010130005018, District 18
360010145023047, District 38     360010145011033, District 38   360010130002000, District 18
360010145011084, District 38     360010006002004, District 4    360010130004012, District 16
360010145011081, District 38     360010006001005, District 4    360010130001000, District 18
360010145011106, District 38     360010014003000, District 5    360010129001021, District 18
360010148012042, District 39     360010007004001, District 4    360010129001005, District 18
360010148012029, District 39     360010007004000, District 4    360010130001015, District 18
360010148011156, District 39     360010008003003, District 4    360010130002011, District 18
360010148011043, District 39     360010008002007, District 2    360010147002096, District 39
360010148011177, District 39     360010007004005, District 2    360010147002039, District 31
360010148011119, District 39     360010021002004, District 8    360010147001007, District 31
360010148012005, District 39     360010021001005, District 5    360010147001006, District 31
360010148012008, District 39     360010014001000, District 2    360010147001009, District 31
360010148012009, District 39     360010022002002, District 5    360010147001056, District 31
360010148012014, District 39     360010014001003, District 5    360010147001054, District 31
360010139011028, District 26     360010022001008, District 5    360010147002097, District 39
360010139012004, District 26     360010014001006, District 5    360010147002105, District 39
360010138017020, District 26     360010022001006, District 5    360010147002087, District 39
360010139021015, District 26     360010023001003, District 6    360010003001027, District 12
360010139021012, District 23     360010007003010, District 2    360010004041014, District 12
360010139021017, District 26     360010008001000, District 2    360010018012008, District 10
360010139023026, District 26     360010007003011, District 2    360010004011005, District 12
360010139021008, District 23     360010007003001, District 3    360010014003025, District 5


Block Equivalency File                       April 13, 2015                                    Page 5
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 6 of 55

360010004011004, District 12     360010132004009, District 15   360010138013008, District 27
360010004031001, District 13     360010134001009, District 15   360010138013011, District 26
360010005014005, District 13     360010134002007, District 15   360010138012030, District 27
360010004031011, District 13     360010134002011, District 15   360010140013023, District 26
360010003004009, District 3      360010134001004, District 14   360010135072007, District 22
360010003004026, District 3      360010134003021, District 15   360010135062009, District 20
360010004032010, District 13     360010134003039, District 15   360010140024010, District 25
360010004032004, District 13     360010134003016, District 15   360010136011003, District 15
360010017001020, District 10     360010132001015, District 16   360010136011004, District 15
360010005022008, District 13     360010132001018, District 16   360010136011026, District 14
360010017002012, District 10     360010132001024, District 16   360010148022048, District 39
360010017001024, District 13     360010148032027, District 39   360010148022013, District 39
360010017001000, District 13     360010148032060, District 39   360010148023028, District 39
360010017003003, District 10     360010148032019, District 39   360010148021025, District 39
360010144012031, District 37     360010148032010, District 39   360010134003032, District 15
360010144011020, District 37     360010148031046, District 39   360010132001027, District 15
360010144013017, District 37     360010142011000, District 34   360010134003002, District 15
360010144013041, District 37     360010141002018, District 9    360010132001011, District 16
360010144011026, District 37     360010141002013, District 9    360010132004003, District 15
360010144011012, District 37     360010141001012, District 9    360010134003036, District 15
360010144021010, District 37     360010142023032, District 33   360010132004006, District 15
360010144011018, District 37     360010143024017, District 38   360010134003055, District 15
360010144011006, District 37     360010143024021, District 38   360010132004005, District 15
360010144011004, District 37     360010143012053, District 36   360010134003029, District 14
360010131001000, District 16     360010143021049, District 36   360010133003036, District 15
360010131002013, District 16     360010143024033, District 36   360010133002007, District 16
360010131003010, District 16     360010143021050, District 36   360010148011089, District 39
360010131003004, District 16     360010143012059, District 36   360010148012084, District 39
360010131001011, District 16     360010135072013, District 22   360010148012040, District 39
360010131001026, District 16     360010137031041, District 22   360010148012056, District 39
360010131001056, District 16     360010136015010, District 15   360010148011081, District 39
360010131002016, District 16     360010136013008, District 21   360010148011016, District 31
360010131003001, District 16     360010137031114, District 23   360010148011146, District 39
360010131001013, District 16     360010136023011, District 14   360010148011039, District 39
360010131003024, District 16     360010138015016, District 27   360010148012062, District 39
360010131001015, District 16     360010138017016, District 27   360010148011139, District 39
360010131001033, District 16     360010138011001, District 27   360010148011031, District 39
360010131001017, District 16     360010138011002, District 27   360010148011106, District 39
360010131003028, District 16     360010135083000, District 19   360010148011141, District 39
360010131001047, District 16     360010138023002, District 22   360010139012017, District 26
360010146075036, District 12     360010138011012, District 27   360010135061010, District 16
360010146081037, District 30     360010138012018, District 27   360010138016017, District 27
360010146133004, District 31     360010138012019, District 27   360010135083033, District 19


Block Equivalency File                       April 13, 2015                                    Page 6
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 7 of 55

360010135063019, District 20     360010148012081, District 39   360010015003004, District 5
360010135051021, District 21     360010148011174, District 39   360010019011001, District 8
360010135062017, District 20     360010148011065, District 31   360010015004004, District 5
360010140012012, District 26     360010148011004, District 31   360010015002004, District 5
360010140012009, District 26     360010148011118, District 39   360010015001005, District 7
360010140021000, District 24     360010148011121, District 39   360010021001003, District 5
360010140021005, District 24     360010148012000, District 39   360010025001028, District 6
360010140022014, District 24     360010148012006, District 39   360010025001000, District 6
360010140022013, District 24     360010138021026, District 22   360010018024001, District 11
360010140021011, District 25     360010136021035, District 14   360010006003002, District 4
360010140022020, District 24     360010137073013, District 23   360010006003006, District 4
360010137054003, District 24     360010138017029, District 27   360010011001064, District 2
360010140022015, District 24     360010136014027, District 14   360010017002009, District 10
360010140023003, District 25     360010135061015, District 16   360010006001000, District 4
360010140023004, District 25     360010135083014, District 19   360010007003007, District 4
360010135032012, District 18     360010135072002, District 22   360010021003005, District 5
360010136021033, District 14     360010136021050, District 14   360010021001000, District 5
360010140011007, District 24     360010139011015, District 26   360010021001002, District 5
360010137051001, District 24     360010135083046, District 19   360010007003000, District 3
360010145022010, District 38     360010135083042, District 22   360010007001010, District 3
360010145022042, District 38     360010137052021, District 24   360010138017028, District 27
360010145022032, District 38     360010137071012, District 23   360010139011005, District 26
360010145022045, District 38     360010137031083, District 22   360010140024018, District 25
360010145022063, District 38     360010135083022, District 19   360010139011027, District 26
360010145022066, District 38     360010147002020, District 31   360010136021040, District 14
360010145021026, District 38     360010147002069, District 31   360010137031076, District 22
360010145021025, District 38     360010145031018, District 33   360010137031075, District 22
360010145011007, District 33     360010145023028, District 38   360010135062003, District 20
360010145011109, District 33     360010145012021, District 33   360010138021025, District 22
360010145032007, District 33     360010145011064, District 38   360010137031087, District 22
360010145032004, District 33     360010145022043, District 38   360010137031009, District 22
360010145011002, District 33     360010145023027, District 38   360010137061026, District 25
360010145023050, District 38     360010145021047, District 38   360010135062004, District 20
360010002001039, District 6      360010005022010, District 13   360010139012018, District 26
360010011001014, District 6      360010005022015, District 13   360010137053003, District 25
360010011001105, District 6      360010005013001, District 13   360010136014002, District 21
360010011001004, District 3      360010005021003, District 13   360010140024012, District 25
360010001001053, District 3      360010016001002, District 7    360010136011020, District 14
360010002001035, District 6      360010005012000, District 13   360010136014013, District 14
360010018015007, District 10     360010015004000, District 7    360010145011110, District 38
360010018013023, District 10     360010019012000, District 8    360010145022074, District 38
360010017001019, District 10     360010015003000, District 7    360010145022015, District 38
360010148011111, District 31     360010015003001, District 7    360010145011034, District 38


Block Equivalency File                       April 13, 2015                                    Page 7
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 8 of 55

360010145011037, District 38     360010148011161, District 39   360010145032012, District 33
360010145012008, District 33     360010148012027, District 39   360010018024017, District 11
360010145032002, District 33     360010148012055, District 39   360010018024006, District 11
360010145021002, District 38     360010148011173, District 39   360010018024010, District 11
360010145011072, District 38     360010148011024, District 39   360010004034030, District 11
360010135051006, District 21     360010148011025, District 39   360010018022007, District 11
360010135051007, District 21     360010148011008, District 31   360010018023012, District 11
360010135051018, District 21     360010148012024, District 39   360010018023003, District 11
360010135051023, District 21     360010135083018, District 19   360010017002013, District 10
360010135061035, District 20     360010135082016, District 19   360010018023018, District 11
360010140012000, District 26     360010135082018, District 19   360010018022002, District 11
360010140013027, District 26     360010135082032, District 19   360010018022011, District 11
360010140012013, District 26     360010139022006, District 26   360010018014004, District 9
360010140021008, District 25     360010137031093, District 22   360010018015028, District 9
360010140021010, District 25     360010137031105, District 23   360010018014011, District 10
360010140024001, District 25     360010139023035, District 26   360010018021000, District 11
360010140021002, District 24     360010140013010, District 26   360010018012007, District 10
360010140024008, District 25     360010137031128, District 26   360010014001002, District 5
360010140023001, District 25     360010135051001, District 21   360010002003002, District 2
360010135032004, District 18     360010137051013, District 24   360010011001067, District 2
360010138012011, District 27     360010135071019, District 22   360010011001075, District 5
360010137052015, District 24     360010135071015, District 20   360010002003005, District 2
360010138017026, District 27     360010135083005, District 19   360010005022003, District 13
360010138012008, District 27     360010135083021, District 19   360010001002001, District 3
360010136011000, District 15     360010135031007, District 19   360010001001014, District 3
360010135061045, District 16     360010135032029, District 19   360010001001009, District 3
360010138016022, District 27     360010135083069, District 20   360010004011047, District 12
360010145022041, District 38     360010135063010, District 20   360010018011004, District 11
360010145022034, District 38     360010135032019, District 18   360010018012002, District 10
360010145022036, District 38     360010135081018, District 19   360010018014008, District 10
360010145031017, District 33     360010145023017, District 38   360010130002018, District 18
360010145021029, District 38     360010145021005, District 38   360010130005008, District 18
360010145023046, District 38     360010145011076, District 38   360010129004000, District 18
360010145023045, District 38     360010145032011, District 33   360010129004007, District 18
360010148023058, District 39     360010145021017, District 38   360010130003009, District 18
360010148021010, District 39     360010145021015, District 38   360010128004014, District 17
360010148021018, District 39     360010145011096, District 38   360010128003012, District 17
360010148021054, District 39     360010145012003, District 33   360010128001008, District 17
360010148012026, District 39     360010145023000, District 38   360010128003005, District 17
360010148012025, District 39     360010145022000, District 38   360010128003016, District 17
360010148012023, District 39     360010145011068, District 38   360010130002012, District 18
360010148011080, District 39     360010145021039, District 38   360010129002016, District 17
360010148011096, District 39     360010145011036, District 38   360010129004005, District 18


Block Equivalency File                       April 13, 2015                                    Page 8
             Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 9 of 55

360010128001002, District 17     360010018021001, District 11   360010142033016, District 35
360010127002001, District 17     360010003004012, District 3    360010143024037, District 36
360010127002014, District 17     360010020004003, District 9    360010143024026, District 36
360010127002018, District 17     360010144011033, District 37   360010142031019, District 34
360010127001010, District 17     360010144011030, District 37   360010143023019, District 35
360010127001008, District 17     360010144022013, District 37   360010143011021, District 36
360010127002003, District 17     360010144011027, District 37   360010143023023, District 35
360010136014016, District 14     360010144012044, District 37   360010141001009, District 11
360010138022005, District 22     360010144012036, District 37   360010143021029, District 35
360010147001019, District 31     360010144012027, District 37   360010141002030, District 9
360010147002002, District 31     360010144013039, District 37   360010141004005, District 9
360010147001000, District 31     360010144012065, District 37   360010141003020, District 34
360010147002052, District 31     360010144022024, District 37   360010137031130, District 26
360010147001032, District 31     360010144022055, District 37   360010137052001, District 24
360010147001045, District 31     360010146061004, District 29   360010137073008, District 23
360010147001020, District 31     360010146151012, District 29   360010137071006, District 23
360010147001028, District 31     360010146081033, District 32   360010137072031, District 23
360010017003010, District 8      360010146063006, District 29   360010137072026, District 23
360010016004009, District 8      360010146081032, District 32   360010137052018, District 24
360010019013004, District 8      360010146151015, District 32   360010137053005, District 25
360010019013010, District 8      360010146112015, District 29   360010136013011, District 21
360010019022006, District 8      360010146111002, District 32   360010135051014, District 21
360010026001003, District 1      360010146112009, District 29   360010135052027, District 21
360010026002001, District 6      360010146132025, District 31   360010136013019, District 21
360010025003013, District 6      360010146093012, District 32   360010137053015, District 25
360010023001006, District 1      360010148031019, District 39   360010137061024, District 25
360010026003000, District 1      360010148032023, District 39   360010137061028, District 25
360010026003002, District 1      360010148031101, District 39   360010136011045, District 14
360010026004022, District 1      360010148031104, District 39   360010136011043, District 14
360010026004019, District 1      360010148031148, District 39   360010136011023, District 14
360010023002021, District 6      360010148031098, District 39   360010135052029, District 21
360010025003012, District 6      360010148031070, District 39   360010136013009, District 21
360010025004000, District 1      360010148031152, District 39   360010136013001, District 21
360010026003015, District 1      360010148031099, District 39   360010137053006, District 25
360010025003010, District 6      360010148032050, District 39   360010136014001, District 21
360010025002014, District 6      360010143024027, District 36   360010137072028, District 23
360010025003003, District 6      360010143012048, District 36   360010137072040, District 23
360010003001025, District 11     360010143011032, District 36   360010133003035, District 15
360010016004005, District 8      360010141004009, District 9    360010133001002, District 16
360010020005004, District 9      360010143012066, District 36   360010133003028, District 15
360010011001129, District 6      360010143012065, District 36   360010133001009, District 16
360010025003002, District 6      360010143012070, District 36   360010132001005, District 16
360010002001049, District 3      360010142033018, District 34   360010132001006, District 16


Block Equivalency File                       April 13, 2015                                    Page 9
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 10 of 55

360010133001012, District 16    360010135081001, District 18   360010136011024, District 14
360010132003016, District 15    360010138017008, District 27   360010137031121, District 23
360010134003045, District 15    360010138017025, District 27   360010137051004, District 24
360010132001013, District 16    360010138016027, District 27   360010136021001, District 14
360010132001003, District 16    360010138016004, District 27   360010137054016, District 25
360010132003009, District 16    360010138016003, District 27   360010145022049, District 38
360010132001016, District 16    360010138015004, District 27   360010145012010, District 33
360010132002009, District 16    360010138016015, District 27   360010145022068, District 38
360010133003021, District 15    360010135033010, District 20   360010145022052, District 38
360010132005011, District 15    360010135083059, District 19   360010145032016, District 33
360010134002000, District 14    360010145023048, District 38   360010145011062, District 38
360010133004008, District 15    360010145021007, District 38   360010145022075, District 38
360010133004016, District 15    360010145011014, District 33   360010145032035, District 33
360010134002001, District 14    360010148021030, District 39   360010002001019, District 3
360010134002003, District 14    360010148023003, District 39   360010008001001, District 2
360010134002015, District 14    360010148023054, District 39   360010001001020, District 3
360010132004007, District 15    360010148021031, District 39   360010018024016, District 11
360010134002008, District 15    360010148021014, District 39   360010018023005, District 11
360010134001007, District 14    360010148021060, District 39   360010018023014, District 11
360010134001012, District 14    360010148021070, District 39   360010018024014, District 11
360010134003000, District 15    360010148012071, District 39   360010018012006, District 10
360010132001023, District 16    360010148012061, District 39   360010018012020, District 10
360010132004012, District 15    360010148012016, District 39   360010018014015, District 10
360010133003007, District 15    360010148012021, District 39   360010018021005, District 11
360010143012055, District 36    360010148011102, District 39   360010018012001, District 10
360010143024061, District 38    360010148011095, District 39   360010011001063, District 2
360010142023034, District 33    360010148012050, District 39   360010014001008, District 5
360010143021000, District 36    360010148011083, District 39   360010014001007, District 5
360010142035028, District 38    360010148011000, District 31   360010002004013, District 2
360010142012000, District 35    360010148011063, District 31   360010002004012, District 6
360010142035007, District 35    360010148011100, District 31   360010001001028, District 3
360010142023033, District 33    360010148011162, District 39   360010001001008, District 3
360010143024060, District 36    360010135032013, District 18   360010001001007, District 3
360010143022007, District 36    360010135083010, District 19   360010004011017, District 12
360010143021044, District 36    360010135083020, District 19   360010004034050, District 11
360010141004016, District 9     360010137054010, District 25   360010004034053, District 11
360010143022033, District 36    360010140023008, District 25   360010018012009, District 10
360010143011011, District 36    360010140023011, District 25   360010018012023, District 11
360010143011017, District 36    360010140023015, District 25   360010018011007, District 10
360010135033002, District 16    360010136021005, District 14   360010136021054, District 14
360010139023027, District 26    360010137061001, District 25   360010138016024, District 27
360010137031020, District 22    360010136012014, District 14   360010137073012, District 23
360010135083019, District 19    360010135052002, District 21   360010140011011, District 24


Block Equivalency File                      April 13, 2015                                    Page 10
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 11 of 55

360010137054012, District 25    360010138012023, District 27   360010138012000, District 27
360010137031125, District 26    360010138012013, District 27   360010135032005, District 18
360010137072019, District 23    360010139023029, District 26   360010145011025, District 38
360010137061011, District 25    360010140022009, District 24   360010145011052, District 38
360010137053022, District 25    360010137031004, District 22   360010145031006, District 33
360010136011048, District 14    360010137031017, District 22   360010145011092, District 38
360010138021014, District 22    360010148021033, District 39   360010145032025, District 33
360010135032010, District 18    360010148021072, District 39   360010145011035, District 38
360010135032008, District 18    360010148022035, District 39   360010145031007, District 33
360010135061017, District 20    360010148021019, District 39   360010145031011, District 33
360010139012002, District 26    360010148021002, District 39   360010145021000, District 38
360010139023000, District 23    360010148023026, District 39   360010145021011, District 38
360010139023036, District 26    360010148021052, District 39   360010145023016, District 38
360010139011025, District 26    360010148021050, District 39   360010145012023, District 33
360010138022014, District 22    360010148021049, District 39   360010145031013, District 33
360010138022013, District 22    360010148011076, District 31   360010145021021, District 38
360010145023041, District 38    360010148011050, District 39   360010145031021, District 33
360010145011090, District 38    360010148011144, District 39   360010145011015, District 33
360010145011023, District 33    360010148011073, District 31   360010018013002, District 10
360010145011077, District 38    360010148011120, District 31   360010018013016, District 10
360010145011071, District 38    360010148011125, District 39   360010018013009, District 10
360010145032019, District 33    360010148011143, District 39   360010018013026, District 10
360010145032024, District 33    360010148011149, District 39   360010017004012, District 10
360010145021045, District 38    360010148011150, District 39   360010017004006, District 10
360010145011049, District 38    360010148011134, District 39   360010017004004, District 10
360010145011107, District 38    360010148011109, District 31   360010003001000, District 3
360010145032034, District 33    360010135072016, District 22   360010004034057, District 11
360010145011091, District 38    360010138016029, District 27   360010004034047, District 11
360010145032020, District 33    360010135032007, District 18   360010003001055, District 11
360010145011087, District 38    360010140012016, District 26   360010003001054, District 11
360010145011088, District 38    360010140013028, District 26   360010004033006, District 11
360010138021016, District 22    360010140012010, District 26   360010004033002, District 13
360010135032000, District 18    360010135032001, District 18   360010011001001, District 3
360010138016005, District 27    360010137053026, District 25   360010011001011, District 6
360010135083055, District 19    360010137073014, District 23   360010011001047, District 6
360010138016016, District 27    360010135033001, District 16   360010011001112, District 6
360010138017011, District 27    360010135083068, District 20   360010011001023, District 6
360010138021013, District 22    360010137073002, District 23   360010018022028, District 11
360010138011005, District 27    360010135083049, District 19   360010003003031, District 3
360010138023007, District 27    360010135083003, District 19   360010003003013, District 3
360010138021023, District 22    360010137073010, District 23   360010003003017, District 3
360010138023001, District 22    360010135083071, District 20   360010015001007, District 5
360010138012005, District 27    360010135061050, District 16   360010003001044, District 13


Block Equivalency File                      April 13, 2015                                    Page 11
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 12 of 55

360010136022006, District 14    360010003001042, District 11   360010148031029, District 39
360010138012003, District 27    360010011001038, District 6    360010148031031, District 39
360010137071001, District 23    360010014003010, District 5    360010148032014, District 39
360010137073001, District 23    360010004011057, District 12   360010148031051, District 39
360010135061009, District 16    360010011001139, District 6    360010148031040, District 39
360010140011002, District 24    360010004034004, District 12   360010148032003, District 39
360010135052031, District 21    360010004011059, District 12   360010143012044, District 36
360010136021017, District 14    360010019022007, District 8    360010143023020, District 35
360010136021047, District 14    360010144022029, District 37   360010141003022, District 36
360010137053032, District 25    360010144022044, District 37   360010142014020, District 36
360010135083041, District 22    360010144021017, District 37   360010141001005, District 11
360010137073021, District 23    360010144012053, District 37   360010143024005, District 38
360010135083002, District 19    360010144011047, District 37   360010143021018, District 35
360010135083009, District 19    360010144012040, District 37   360010141003015, District 34
360010136011039, District 14    360010144022027, District 37   360010141001019, District 11
360010136011036, District 14    360010144012064, District 37   360010141002020, District 9
360010136021030, District 14    360010144013014, District 37   360010142023019, District 33
360010135083074, District 20    360010144013009, District 37   360010142022004, District 34
360010147001035, District 31    360010144013019, District 37   360010141003018, District 34
360010147001029, District 31    360010144013027, District 37   360010142031003, District 34
360010147001037, District 31    360010144012012, District 37   360010142013026, District 35
360010147002023, District 31    360010144012045, District 37   360010142013025, District 35
360010147002022, District 31    360010128002009, District 17   360010137061015, District 25
360010147002017, District 31    360010146063030, District 31   360010137072002, District 23
360010147002060, District 31    360010146081024, District 30   360010137072003, District 23
360010147002053, District 31    360010146081000, District 32   360010137061007, District 25
360010147002044, District 31    360010146132001, District 31   360010137071024, District 21
360010147002071, District 31    360010146071011, District 28   360010136015009, District 15
360010003003040, District 3     360010146075005, District 28   360010136013016, District 21
360010020005031, District 1     360010146075046, District 12   360010135052013, District 21
360010001001030, District 3     360010146144019, District 32   360010136012009, District 14
360010026001009, District 1     360010146142015, District 30   360010136011034, District 14
360010026003005, District 1     360010146082012, District 30   360010136021025, District 14
360010026002003, District 1     360010146082004, District 30   360010136022018, District 14
360010025001031, District 6     360010146144001, District 30   360010136021049, District 14
360010011001127, District 6     360010146143012, District 30   360010137031138, District 23
360010018015022, District 10    360010146132002, District 31   360010136021071, District 14
360010002001011, District 3     360010146092021, District 32   360010139011012, District 26
360010011001081, District 6     360010148032049, District 39   360010136021072, District 14
360010022002000, District 5     360010148032047, District 39   360010139023025, District 26
360010011001018, District 6     360010148032081, District 39   360010137053035, District 25
360010002001021, District 3     360010148032054, District 39   360010136012020, District 14
360010004011049, District 12    360010148031091, District 39   360010136022014, District 14


Block Equivalency File                      April 13, 2015                                    Page 12
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 13 of 55

360010136021031, District 14    360010137031050, District 22   360010139021013, District 26
360010136021042, District 14    360010137073016, District 23   360010139021003, District 23
360010135061036, District 20    360010137073015, District 23   360010139022012, District 26
360010148031027, District 39    360010135061012, District 16   360010137031060, District 22
360010148032076, District 39    360010136011007, District 15   360010139023014, District 26
360010148031028, District 39    360010136011005, District 15   360010139011022, District 26
360010148031090, District 39    360010137031124, District 26   360010139023030, District 26
360010148032066, District 39    360010140011013, District 24   360010139011000, District 26
360010148031034, District 39    360010135071020, District 22   360010139011023, District 26
360010148031037, District 39    360010137073005, District 23   360010139011026, District 26
360010148032034, District 39    360010137072013, District 23   360010139011029, District 26
360010148031140, District 39    360010137072014, District 23   360010140013034, District 26
360010148031025, District 39    360010148021038, District 39   360010135083026, District 19
360010148031013, District 39    360010148022040, District 39   360010145012001, District 33
360010148031012, District 39    360010148021084, District 39   360010145011095, District 38
360010143011030, District 36    360010148021027, District 39   360010145011032, District 38
360010143011005, District 36    360010148021058, District 39   360010145023039, District 38
360010143012068, District 36    360010148023062, District 39   360010145011093, District 38
360010141001016, District 9     360010148023086, District 39   360010145023019, District 38
360010143024096, District 38    360010148023074, District 39   360010145023033, District 38
360010143022024, District 38    360010148022025, District 39   360010145023002, District 38
360010142034011, District 34    360010148022037, District 39   360010145011065, District 38
360010143012057, District 36    360010148021005, District 39   360010145022007, District 38
360010143024087, District 38    360010148023080, District 39   360010145032015, District 33
360010143021048, District 36    360010148023048, District 39   360010145021040, District 38
360010142021003, District 34    360010148011157, District 39   360010145022025, District 38
360010141001029, District 11    360010148011055, District 39   360010145011070, District 38
360010143012017, District 36    360010148011154, District 39   360010145031028, District 33
360010143021039, District 36    360010148011017, District 31   360010018014005, District 10
360010142021005, District 34    360010148011153, District 39   360010018014009, District 10
360010141004022, District 9     360010148011020, District 39   360010017004008, District 10
360010138016018, District 27    360010148011006, District 31   360010017004010, District 10
360010138015006, District 27    360010137053025, District 25   360010003001059, District 11
360010138023008, District 27    360010137072010, District 23   360010003001060, District 11
360010138021002, District 27    360010137072022, District 23   360010004033009, District 11
360010137031030, District 22    360010137052014, District 24   360010004031004, District 13
360010138012024, District 27    360010137031120, District 23   360010002001050, District 3
360010138012022, District 27    360010137031040, District 22   360010001001040, District 3
360010138013000, District 27    360010135083011, District 19   360010001001038, District 3
360010138012007, District 27    360010137051012, District 24   360010011001013, District 6
360010138012009, District 27    360010137031123, District 26   360010011001059, District 6
360010140022010, District 24    360010137051014, District 24   360010011001084, District 6
360010140022011, District 24    360010139021010, District 23   360010011001054, District 6


Block Equivalency File                      April 13, 2015                                    Page 13
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 14 of 55

360010011001055, District 6     360010145011000, District 33   360010143012072, District 36
360010011001021, District 6     360010145032001, District 33   360010143012018, District 36
360010011001020, District 6     360010145011050, District 38   360010143024050, District 38
360010001002010, District 3     360010145022014, District 38   360010142035009, District 35
360010001001022, District 3     360010145011102, District 33   360010143024053, District 38
360010004011051, District 12    360010145011008, District 33   360010143012042, District 36
360010004011050, District 12    360010137071005, District 23   360010138016028, District 27
360010018022027, District 11    360010137071020, District 23   360010138017003, District 27
360010026001007, District 1     360010137073024, District 23   360010138016025, District 27
360010148011012, District 31    360010137073011, District 23   360010138016000, District 27
360010135072015, District 22    360010137054001, District 25   360010138015020, District 27
360010135082008, District 19    360010137051019, District 24   360010138015005, District 27
360010135082011, District 19    360010137051003, District 24   360010139012003, District 26
360010135082001, District 19    360010137061016, District 25   360010139023022, District 26
360010135082003, District 19    360010135063020, District 20   360010135062014, District 20
360010135083029, District 19    360010135051022, District 21   360010135083057, District 19
360010135082021, District 19    360010135051024, District 21   360010135061008, District 16
360010135082030, District 19    360010137053008, District 25   360010136014019, District 14
360010137031043, District 23    360010137053036, District 25   360010136021044, District 14
360010139023020, District 26    360010136011028, District 14   360010138015015, District 27
360010139023019, District 26    360010136011042, District 14   360010138023005, District 27
360010140012015, District 26    360010135033012, District 20   360010138015002, District 27
360010140013007, District 26    360010136013010, District 21   360010138022004, District 22
360010140013024, District 26    360010137061013, District 25   360010145031000, District 33
360010140013018, District 26    360010137072037, District 25   360010145011060, District 38
360010137031129, District 26    360010137071023, District 21   360010145011058, District 38
360010140011018, District 24    360010136014014, District 14   360010145023007, District 38
360010135032026, District 19    360010135062024, District 20   360010145032031, District 33
360010135083056, District 19    360010135063016, District 20   360010145011097, District 33
360010135032022, District 19    360010135052005, District 21   360010145032030, District 33
360010137051009, District 24    360010148023067, District 39   360010145011047, District 38
360010135083004, District 19    360010148023094, District 39   360010145011067, District 38
360010135083030, District 19    360010148023090, District 39   360010145022004, District 38
360010145022003, District 38    360010148022026, District 39   360010145021009, District 38
360010145022037, District 38    360010148023001, District 39   360010145032027, District 33
360010145022064, District 38    360010148023005, District 39   360010145022019, District 38
360010145022009, District 38    360010148023031, District 39   360010148011092, District 39
360010145022062, District 38    360010148022001, District 39   360010148012068, District 39
360010145022065, District 38    360010148011127, District 39   360010148011067, District 31
360010145022058, District 38    360010148011079, District 39   360010148011007, District 31
360010145031026, District 33    360010142013013, District 35   360010148011132, District 39
360010145011013, District 33    360010143024059, District 36   360010148011075, District 31
360010145011005, District 33    360010143024094, District 36   360010148011123, District 31


Block Equivalency File                      April 13, 2015                                    Page 14
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 15 of 55

360010148011128, District 39    360010015004008, District 5    360010146131023, District 31
360010148011040, District 39    360010021002003, District 8    360010146132027, District 31
360010139011016, District 26    360010021003003, District 5    360010146112023, District 29
360010135033015, District 16    360010025001034, District 6    360010146112024, District 29
360010135083072, District 20    360010025001025, District 6    360010146082001, District 30
360010139021000, District 23    360010019021001, District 9    360010148031043, District 39
360010135071012, District 20    360010019023005, District 9    360010148031032, District 39
360010140013013, District 26    360010020005002, District 9    360010148032025, District 39
360010139023007, District 23    360010020005001, District 9    360010017002010, District 10
360010137031067, District 23    360010020001007, District 8    360010003004022, District 3
360010136011031, District 14    360010020003000, District 1    360010025001008, District 6
360010135071016, District 20    360010127002027, District 17   360010025001020, District 6
360010137071003, District 23    360010128001026, District 17   360010003003034, District 3
360010136011041, District 14    360010127003017, District 17   360010011001009, District 6
360010135061061, District 16    360010129002003, District 17   360010014003024, District 5
360010136021046, District 14    360010127002009, District 17   360010011001118, District 6
360010136014015, District 14    360010127001013, District 17   360010001001047, District 3
360010135083047, District 19    360010127001027, District 17   360010003003030, District 3
360010136022001, District 14    360010127002016, District 17   360010011001100, District 5
360010145023013, District 38    360010129001004, District 18   360010003001036, District 11
360010145031019, District 33    360010129002019, District 17   360010014003020, District 5
360010145012005, District 33    360010130001011, District 18   360010004011055, District 12
360010145022031, District 38    360010128001013, District 17   360010026003019, District 1
360010145022060, District 38    360010129001018, District 18   360010142035016, District 38
360010145021010, District 38    360010129001017, District 18   360010142022002, District 34
360010145021046, District 38    360010130005014, District 18   360010142022001, District 34
360010145022001, District 38    360010130002007, District 18   360010142022011, District 34
360010145011009, District 33    360010130002015, District 18   360010142033013, District 34
360010145031024, District 33    360010130004000, District 17   360010142035023, District 38
360010004034007, District 11    360010129001019, District 18   360010142021015, District 34
360010018015011, District 9     360010130005002, District 18   360010142035032, District 35
360010005022017, District 13    360010129003000, District 18   360010142032022, District 35
360010005022020, District 13    360010130005021, District 18   360010142031007, District 34
360010005021000, District 13    360010146144017, District 32   360010142011019, District 34
360010005021005, District 7     360010146092006, District 32   360010142011009, District 34
360010003004027, District 4     360010146093007, District 32   360010142013021, District 35
360010006003000, District 4     360010146092003, District 32   360010142014010, District 36
360010005011000, District 4     360010146111015, District 29   360010143021028, District 36
360010015001003, District 7     360010146144002, District 30   360010143023027, District 35
360010005011001, District 4     360010146093021, District 32   360010142014002, District 36
360010006003014, District 7     360010146062005, District 29   360010142013008, District 36
360010015002001, District 7     360010146062008, District 29   360010143023004, District 35
360010019012005, District 8     360010146121004, District 31   360010138017017, District 27


Block Equivalency File                      April 13, 2015                                    Page 15
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 16 of 55

360010131001042, District 16    360010142013009, District 36   360010148023104, District 39
360010131001028, District 16    360010141002023, District 9    360010148022006, District 39
360010131001008, District 16    360010141001015, District 11   360010148022047, District 39
360010131003017, District 16    360010141001023, District 11   360010148011010, District 31
360010131003007, District 16    360010142023000, District 33   360010148011013, District 31
360010131001049, District 16    360010142023012, District 33   360010148011133, District 39
360010131001048, District 16    360010141004011, District 9    360010148011074, District 31
360010131002004, District 16    360010142011002, District 34   360010148012073, District 39
360010131002002, District 16    360010135051015, District 21   360010141003013, District 34
360010131002001, District 16    360010135062012, District 20   360010143024049, District 36
360010131001038, District 16    360010135052023, District 21   360010143024052, District 38
360010146074012, District 28    360010136013005, District 21   360010141002004, District 9
360010146063020, District 31    360010137053012, District 25   360010143022023, District 38
360010146133009, District 31    360010137053040, District 25   360010143012016, District 36
360010146121012, District 31    360010137061034, District 25   360010143022019, District 38
360010146151031, District 32    360010137061035, District 25   360010142024004, District 33
360010146151014, District 29    360010136023022, District 14   360010143012040, District 36
360010146093024, District 30    360010136021012, District 14   360010143022026, District 38
360010148031065, District 39    360010137054018, District 25   360010142013001, District 35
360010148031077, District 39    360010136013007, District 21   360010137031002, District 22
360010148031067, District 39    360010137072029, District 23   360010135083016, District 19
360010148031074, District 39    360010136012002, District 14   360010135061000, District 16
360010148031123, District 39    360010135062015, District 20   360010135082026, District 19
360010148031129, District 39    360010135052003, District 21   360010137031110, District 23
360010148031135, District 39    360010135052004, District 21   360010139023028, District 26
360010148031087, District 39    360010135062022, District 20   360010140013005, District 26
360010148031130, District 39    360010136012017, District 14   360010140013025, District 26
360010148031117, District 39    360010136021014, District 14   360010140013016, District 26
360010148031080, District 39    360010136022019, District 14   360010140011027, District 24
360010148031151, District 39    360010136023021, District 14   360010140011020, District 24
360010148032046, District 39    360010136023019, District 14   360010137031102, District 23
360010148032059, District 39    360010136023027, District 14   360010137031094, District 22
360010141004019, District 9     360010136021067, District 14   360010137031106, District 22
360010142023026, District 33    360010140023012, District 25   360010135061005, District 16
360010142023030, District 33    360010138015012, District 27   360010135083061, District 19
360010142035037, District 38    360010148023037, District 39   360010139011007, District 26
360010142035000, District 35    360010148023017, District 39   360010135081021, District 19
360010142013016, District 35    360010148023033, District 39   360010135072017, District 22
360010143022044, District 36    360010148023098, District 39   360010140022007, District 24
360010142035034, District 35    360010148023101, District 39   360010135081007, District 18
360010141001014, District 11    360010148023100, District 39   360010145011089, District 38
360010141002031, District 9     360010148023091, District 39   360010145032021, District 33
360010143012058, District 36    360010148022024, District 39   360010145031032, District 33


Block Equivalency File                      April 13, 2015                                    Page 16
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 17 of 55

360010145022047, District 38    360010148021016, District 39   360010133002008, District 16
360010145022059, District 38    360010148021026, District 39   360010133002003, District 16
360010145022061, District 38    360010148021073, District 39   360010133002013, District 16
360010145021048, District 38    360010148021041, District 39   360010133004003, District 15
360010145031020, District 33    360010148021021, District 39   360010133003022, District 15
360010145022054, District 38    360010148023049, District 39   360010132002006, District 16
360010145031023, District 33    360010136015003, District 15   360010133003019, District 15
360010145011006, District 33    360010136011038, District 14   360010143024024, District 38
360010145021016, District 38    360010136021053, District 14   360010143012067, District 36
360010145011061, District 38    360010136021052, District 14   360010143012000, District 36
360010148011046, District 39    360010140012007, District 26   360010142032009, District 35
360010148012089, District 39    360010136022002, District 14   360010143024064, District 36
360010148012049, District 39    360010138012004, District 27   360010143022037, District 36
360010148012080, District 39    360010138012014, District 27   360010143021017, District 35
360010148012045, District 39    360010138017014, District 27   360010141004018, District 9
360010148012019, District 39    360010136021018, District 14   360010142032012, District 35
360010148012064, District 39    360010135033007, District 16   360010141003014, District 34
360010148011136, District 39    360010135061029, District 20   360010143023011, District 35
360010135083007, District 19    360010131003022, District 16   360010143024025, District 38
360010135083078, District 20    360010131001030, District 16   360010141001028, District 11
360010135033009, District 20    360010131001007, District 16   360010142022005, District 34
360010137031023, District 22    360010131001054, District 16   360010142023003, District 33
360010138021011, District 22    360010131001004, District 16   360010138011011, District 27
360010135083035, District 19    360010131001032, District 16   360010138012020, District 27
360010135063014, District 20    360010131001031, District 16   360010138012017, District 27
360010135061018, District 20    360010131001044, District 16   360010138014005, District 27
360010140012014, District 26    360010148021080, District 39   360010138013007, District 27
360010140021009, District 25    360010148023000, District 39   360010138012021, District 27
360010140022016, District 24    360010132004004, District 15   360010137031039, District 22
360010140012008, District 26    360010132005009, District 15   360010135033011, District 20
360010140024013, District 25    360010132001021, District 16   360010137031015, District 22
360010140024016, District 25    360010134003057, District 15   360010135062016, District 20
360010140021012, District 25    360010134003052, District 14   360010135081012, District 19
360010140024011, District 25    360010134003005, District 15   360010137031048, District 22
360010140024003, District 25    360010132002011, District 16   360010136011015, District 15
360010140024009, District 25    360010133001003, District 16   360010136011010, District 15
360010140024015, District 25    360010134003061, District 14   360010136011006, District 15
360010140024014, District 25    360010134003037, District 15   360010136015012, District 15
360010138012001, District 27    360010132003013, District 15   360010140011012, District 24
360010136021043, District 14    360010132003015, District 15   360010140011015, District 24
360010137071016, District 23    360010134003004, District 15   360010137073009, District 23
360010145011027, District 38    360010133002006, District 16   360010137073007, District 23
360010148021006, District 39    360010133001004, District 16   360010137073006, District 23


Block Equivalency File                      April 13, 2015                                    Page 17
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 18 of 55

360010137072015, District 23    360010139012015, District 26   360010129003005, District 18
360010137072035, District 25    360010145032005, District 33   360010130003015, District 17
360010137051007, District 24    360010145011046, District 38   360010128004002, District 17
360010145022050, District 38    360010145031027, District 33   360010128004013, District 17
360010145031034, District 33    360010145011044, District 38   360010129002015, District 17
360010145021024, District 38    360010145032003, District 33   360010128003001, District 17
360010145031012, District 33    360010145012006, District 33   360010128001010, District 17
360010148021071, District 39    360010145023032, District 38   360010128001006, District 17
360010148021078, District 39    360010145023038, District 38   360010128003003, District 17
360010148021034, District 39    360010145023037, District 38   360010128002002, District 17
360010148021067, District 39    360010145023031, District 38   360010128001025, District 17
360010148021042, District 39    360010145012014, District 33   360010129001000, District 18
360010148021032, District 39    360010145032017, District 33   360010127002000, District 17
360010148022005, District 39    360010145023035, District 38   360010127002008, District 17
360010148021077, District 39    360010145031001, District 33   360010127001014, District 17
360010148012001, District 39    360010007001003, District 3    360010127001026, District 17
360010148012002, District 39    360010003003014, District 3    360010127003009, District 17
360010148011048, District 39    360010003002006, District 4    360010127001011, District 17
360010148012072, District 39    360010006003016, District 7    360010130005012, District 18
360010148011047, District 39    360010006001001, District 4    360010135061014, District 16
360010148012048, District 39    360010014002003, District 5    360010136015000, District 15
360010148012088, District 39    360010022001003, District 5    360010146151023, District 28
360010148012066, District 39    360010014002004, District 5    360010146133016, District 31
360010136022004, District 14    360010014001004, District 5    360010146071003, District 28
360010140023013, District 25    360010007004004, District 2    360010146151001, District 28
360010135052001, District 21    360010002002002, District 2    360010146074013, District 29
360010136012007, District 14    360010002002000, District 2    360010146131028, District 31
360010137073004, District 23    360010003003010, District 3    360010146063040, District 29
360010135063021, District 20    360010002001012, District 3    360010146063022, District 31
360010135052010, District 21    360010002004001, District 2    360010146063021, District 31
360010136022011, District 14    360010018023019, District 11   360010146121014, District 31
360010136015013, District 15    360010018023007, District 11   360010146131042, District 31
360010136021009, District 14    360010018023002, District 11   360010146133010, District 31
360010137071009, District 23    360010004034036, District 11   360010146062002, District 29
360010140011010, District 24    360010018022018, District 11   360010146062000, District 29
360010137031131, District 26    360010018023016, District 11   360010146062013, District 29
360010137072004, District 23    360010018022006, District 11   360010146061000, District 29
360010138021009, District 22    360010018021013, District 11   360010146075001, District 28
360010137051017, District 24    360010018021009, District 11   360010146063031, District 31
360010140022003, District 24    360010018022010, District 11   360010003001051, District 11
360010137031045, District 23    360010018021003, District 11   360010025002004, District 6
360010137031139, District 23    360010018012016, District 10   360010020005020, District 1
360010139023001, District 23    360010130004002, District 17   360010004041005, District 12


Block Equivalency File                      April 13, 2015                                    Page 18
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 19 of 55

360010011001045, District 6     360010148031137, District 39   360010131003006, District 16
360010011001050, District 6     360010148031001, District 39   360010131002006, District 16
360010011001043, District 6     360010148031026, District 39   360010131003029, District 16
360010003001038, District 11    360010142031006, District 34   360010131002008, District 16
360010002001007, District 3     360010142014027, District 36   360010131001057, District 16
360010017001012, District 10    360010142013020, District 35   360010148023027, District 39
360010003001056, District 3     360010142013027, District 35   360010148023056, District 39
360010002001001, District 3     360010142023028, District 33   360010148021043, District 39
360010018015000, District 9     360010142024005, District 33   360010133003003, District 15
360010018023009, District 11    360010142021006, District 34   360010134003011, District 15
360010003003025, District 3     360010142021017, District 34   360010132001017, District 16
360010003003044, District 3     360010142022018, District 34   360010132001019, District 16
360010005022005, District 13    360010142022017, District 34   360010134003049, District 15
360010004011054, District 12    360010142034000, District 34   360010134003044, District 15
360010004011060, District 12    360010142022020, District 34   360010132003006, District 16
360010143023003, District 35    360010142021009, District 34   360010134003043, District 15
360010142032029, District 35    360010142021013, District 34   360010132001001, District 16
360010143012013, District 36    360010142033008, District 34   360010133003038, District 15
360010143022025, District 38    360010142033007, District 34   360010133002005, District 16
360010143024092, District 36    360010142011024, District 34   360010133001000, District 16
360010143024004, District 38    360010142011005, District 34   360010133003016, District 15
360010143024046, District 36    360010142011003, District 34   360010133004004, District 15
360010143024077, District 36    360010142032010, District 35   360010133004013, District 15
360010143022013, District 36    360010142012013, District 35   360010142024014, District 33
360010141002000, District 9     360010142012015, District 35   360010143012041, District 36
360010146144000, District 30    360010142012017, District 35   360010143024019, District 38
360010146133001, District 31    360010142013006, District 35   360010142014003, District 36
360010146112011, District 29    360010142013028, District 35   360010143021013, District 35
360010146092012, District 32    360010135061030, District 20   360010141002001, District 9
360010146132046, District 31    360010137071004, District 23   360010142023035, District 33
360010146063027, District 29    360010136012010, District 14   360010143022032, District 36
360010146075030, District 12    360010136021003, District 14   360010143012034, District 36
360010146081009, District 32    360010136014017, District 14   360010143012052, District 36
360010146074008, District 28    360010135033017, District 20   360010143023006, District 35
360010146075025, District 12    360010137073003, District 23   360010135083006, District 19
360010146075003, District 28    360010137053011, District 25   360010135063012, District 20
360010146062004, District 29    360010137053004, District 25   360010135061025, District 20
360010146075056, District 28    360010138021018, District 22   360010135063013, District 20
360010146081020, District 30    360010136011001, District 15   360010135071005, District 22
360010148032075, District 39    360010131001043, District 16   360010136014034, District 21
360010148032056, District 39    360010131003013, District 16   360010135051016, District 21
360010148031072, District 39    360010131001016, District 16   360010135051002, District 21
360010148031000, District 39    360010131003021, District 16   360010140021007, District 24


Block Equivalency File                      April 13, 2015                                    Page 19
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 20 of 55

360010140021004, District 24    360010139023005, District 23   360010134001008, District 14
360010140023000, District 25    360010135032014, District 18   360010134002002, District 14
360010140023005, District 25    360010138017010, District 27   360010132005013, District 15
360010135032011, District 18    360010138017013, District 27   360010134002012, District 14
360010137031054, District 22    360010138016030, District 27   360010134002009, District 15
360010137053033, District 25    360010138016007, District 27   360010134003020, District 15
360010137031070, District 22    360010138016002, District 27   360010132001020, District 16
360010135061019, District 20    360010138015011, District 27   360010132003017, District 15
360010138012002, District 27    360010135083064, District 19   360010148031049, District 39
360010136021057, District 14    360010135031017, District 19   360010148031048, District 39
360010137053042, District 25    360010135031001, District 19   360010148031147, District 39
360010136011029, District 14    360010148022031, District 39   360010148031069, District 39
360010135061028, District 20    360010148023052, District 39   360010148031153, District 39
360010138021008, District 22    360010148021064, District 39   360010142014000, District 36
360010148021044, District 39    360010148023061, District 39   360010143011006, District 36
360010148021063, District 39    360010148022038, District 39   360010143022034, District 36
360010148021081, District 39    360010148021083, District 39   360010143011013, District 36
360010148022019, District 39    360010148023087, District 39   360010143011031, District 36
360010148022039, District 39    360010148023065, District 39   360010143022001, District 36
360010148021047, District 39    360010148022029, District 39   360010143011002, District 36
360010148023085, District 39    360010131002009, District 16   360010143011001, District 36
360010148023051, District 39    360010131002000, District 16   360010143011037, District 36
360010148011108, District 39    360010131001005, District 16   360010143012005, District 36
360010148011082, District 39    360010131003011, District 16   360010143012012, District 36
360010148012053, District 39    360010131003012, District 16   360010143024039, District 36
360010148012033, District 39    360010131001022, District 16   360010143011018, District 36
360010148012035, District 39    360010131001018, District 16   360010143011036, District 36
360010148011113, District 39    360010146132004, District 31   360010143021026, District 36
360010148011167, District 39    360010146131002, District 31   360010137051021, District 24
360010148011164, District 39    360010146063043, District 29   360010140023009, District 25
360010148011009, District 31    360010146075039, District 12   360010137061014, District 25
360010148011023, District 39    360010146111043, District 32   360010137051020, District 24
360010148011014, District 31    360010146132016, District 31   360010135052015, District 21
360010148011002, District 31    360010146075042, District 12   360010137053018, District 25
360010148011176, District 39    360010146112016, District 29   360010137061032, District 25
360010148011114, District 39    360010132002002, District 16   360010137061029, District 25
360010135083050, District 22    360010132003010, District 15   360010136011017, District 14
360010140013032, District 26    360010132005001, District 15   360010136011021, District 14
360010136014032, District 21    360010132005000, District 15   360010136021051, District 14
360010136021059, District 14    360010134003038, District 15   360010137054017, District 25
360010135061039, District 16    360010132005008, District 15   360010137072017, District 23
360010136013018, District 21    360010133004019, District 15   360010137072021, District 23
360010135083037, District 22    360010134003024, District 14   360010136012022, District 14


Block Equivalency File                      April 13, 2015                                    Page 20
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 21 of 55

360010137061018, District 25    360010139011021, District 26   360010017003006, District 10
360010137071022, District 21    360010139023021, District 26   360010018013005, District 10
360010136014007, District 21    360010137031029, District 22   360010004034041, District 11
360010137072036, District 25    360010135083045, District 19   360010004034045, District 11
360010137061020, District 25    360010135072018, District 22   360010004034043, District 11
360010136012003, District 14    360010135083025, District 19   360010004031003, District 13
360010135052006, District 21    360010135072004, District 22   360010001001060, District 3
360010136014012, District 21    360010135083024, District 19   360010001002009, District 3
360010135061055, District 16    360010135082024, District 19   360010011001046, District 6
360010135061054, District 16    360010135082031, District 19   360010011001060, District 6
360010148022032, District 39    360010137073020, District 23   360010011001048, District 6
360010148022044, District 39    360010140013030, District 26   360010135072003, District 22
360010148021022, District 39    360010140013026, District 26   360010137031024, District 22
360010148023060, District 39    360010145023011, District 38   360010140012004, District 26
360010148022033, District 39    360010145022021, District 38   360010140022008, District 24
360010148021040, District 39    360010145022008, District 38   360010135052021, District 21
360010148021059, District 39    360010145022035, District 38   360010135083013, District 19
360010148023066, District 39    360010145023015, District 38   360010136022007, District 14
360010148022018, District 39    360010145021032, District 38   360010137053019, District 25
360010148021013, District 39    360010145023043, District 38   360010135061063, District 20
360010148021004, District 39    360010145021049, District 36   360010135031006, District 19
360010148021035, District 39    360010145032026, District 33   360010135083067, District 20
360010148023063, District 39    360010145022022, District 38   360010137071011, District 23
360010148023103, District 39    360010145011069, District 38   360010146133000, District 31
360010148023089, District 39    360010145011085, District 38   360010146063046, District 29
360010148012047, District 39    360010145011100, District 33   360010146063010, District 29
360010148012067, District 39    360010145031003, District 33   360010146061008, District 29
360010148012076, District 39    360010002004000, District 2    360010146131043, District 31
360010148011098, District 31    360010011001072, District 5    360010146131057, District 31
360010148011099, District 31    360010002002005, District 2    360010146131052, District 31
360010148011160, District 39    360010002002009, District 2    360010146132054, District 31
360010148012052, District 39    360010011001094, District 6    360010146133023, District 31
360010148011169, District 39    360010011001078, District 6    360010146063032, District 29
360010137031037, District 22    360010011001091, District 6    360010146063008, District 29
360010138012025, District 23    360010011001083, District 6    360010146121026, District 31
360010138012027, District 23    360010001002008, District 3    360010146144013, District 30
360010139021007, District 23    360010004011013, District 12   360010146073006, District 28
360010139012006, District 26    360010004011018, District 12   360010146074001, District 29
360010139022000, District 23    360010018014007, District 10   360010146131048, District 31
360010139022011, District 26    360010018011006, District 11   360010146092007, District 32
360010139012010, District 26    360010004034056, District 11   360010002001038, District 3
360010139012016, District 26    360010018013001, District 10   360010004011077, District 12
360010139011003, District 26    360010018013011, District 10   360010014003021, District 5


Block Equivalency File                      April 13, 2015                                    Page 21
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 22 of 55

360010019022009, District 9     360010146142012, District 30   360010146131009, District 31
360010021002005, District 5     360010146151002, District 28   360010146075038, District 12
360010004033010, District 11    360010146143003, District 30   360010146075023, District 12
360010023002008, District 6     360010146133006, District 31   360010146151030, District 29
360010025001017, District 6     360010146111010, District 32   360010146111000, District 32
360010004041003, District 12    360010146111048, District 32   360010146151018, District 32
360010025001003, District 6     360010146081007, District 32   360010146072020, District 29
360010025001007, District 6     360010146132033, District 32   360010146132018, District 31
360010011001099, District 5     360010148032040, District 39   360010134003048, District 15
360010004034015, District 11    360010148031036, District 39   360010132001009, District 16
360010004011007, District 12    360010148031038, District 39   360010132002003, District 16
360010007001002, District 3     360010148032015, District 39   360010132002001, District 16
360010003001013, District 3     360010003001009, District 3    360010132003011, District 15
360010004031008, District 13    360010018015018, District 9    360010132003007, District 16
360010003004010, District 3     360010018012018, District 10   360010132003023, District 15
360010007001015, District 3     360010011001015, District 6    360010134003041, District 15
360010004032011, District 13    360010026004011, District 1    360010133004015, District 15
360010005022000, District 13    360010025001021, District 6    360010134002004, District 14
360010017003004, District 10    360010011001117, District 6    360010134003059, District 14
360010017002000, District 10    360010025001002, District 6    360010134002006, District 14
360010017002006, District 10    360010011001035, District 6    360010134003023, District 15
360010017001004, District 10    360010142014012, District 9    360010134003022, District 15
360010017002002, District 10    360010142032006, District 35   360010134003030, District 15
360010143021011, District 36    360010142032016, District 35   360010132002000, District 16
360010141004010, District 9     360010142032017, District 35   360010132001028, District 16
360010143024098, District 36    360010142032014, District 35   360010132003019, District 15
360010142023009, District 33    360010143022004, District 36   360010133003012, District 15
360010142013004, District 35    360010142014015, District 36   360010133003037, District 15
360010144011078, District 37    360010143012049, District 36   360010148032070, District 39
360010144011057, District 37    360010141003008, District 34   360010148031105, District 39
360010144011015, District 37    360010143023012, District 35   360010148032048, District 39
360010144011019, District 37    360010143024093, District 38   360010143022009, District 36
360010144011014, District 37    360010143024015, District 38   360010143022038, District 36
360010146072005, District 29    360010143021024, District 36   360010143011028, District 36
360010146132021, District 31    360010143024042, District 38   360010143011029, District 36
360010146132031, District 31    360010143021002, District 36   360010143011024, District 36
360010146111036, District 32    360010143024091, District 36   360010143011019, District 36
360010146142021, District 30    360010143024089, District 36   360010143011039, District 36
360010146142022, District 30    360010143012009, District 36   360010141004002, District 9
360010146144025, District 30    360010143023008, District 35   360010143021037, District 36
360010146093020, District 32    360010146073015, District 28   360010141001008, District 11
360010146142018, District 30    360010146063017, District 31   360010143012069, District 36
360010146142013, District 30    360010146063003, District 29   360010143023002, District 35


Block Equivalency File                      April 13, 2015                                    Page 22
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 23 of 55

360010139023003, District 23    360010143024069, District 36   360010133003034, District 15
360010138015018, District 27    360010142013018, District 35   360010133003030, District 15
360010138015017, District 27    360010142024011, District 33   360010146111019, District 32
360010138015007, District 27    360010142014008, District 36   360010146073021, District 28
360010139011024, District 26    360010143012004, District 36   360010146132036, District 31
360010135031012, District 19    360010143024090, District 36   360010146112010, District 29
360010138017021, District 26    360010142014024, District 36   360010146063007, District 29
360010138015003, District 27    360010143024051, District 36   360010146073002, District 28
360010138023004, District 22    360010136014030, District 14   360010146073017, District 28
360010138022007, District 22    360010138023006, District 27   360010146063024, District 31
360010138014007, District 27    360010138014006, District 27   360010146133005, District 31
360010138011009, District 27    360010138021001, District 22   360010146132009, District 31
360010138011008, District 27    360010138011007, District 27   360010148031084, District 39
360010139012000, District 27    360010138013002, District 27   360010148031131, District 39
360010135031003, District 19    360010138013010, District 27   360010148031136, District 39
360010135071011, District 20    360010138012015, District 27   360010148032072, District 39
360010135063022, District 20    360010138012012, District 27   360010148031089, District 39
360010140011025, District 24    360010138022003, District 22   360010148031150, District 39
360010137031135, District 22    360010135083051, District 20   360010148031006, District 39
360010135061011, District 16    360010140011016, District 24   360010148031004, District 39
360010137052008, District 24    360010135071021, District 22   360010148031010, District 39
360010137072009, District 23    360010137072012, District 23   360010148031058, District 39
360010137072011, District 23    360010137073023, District 23   360010148031015, District 39
360010137072008, District 23    360010137072016, District 23   360010148031155, District 39
360010137072032, District 23    360010137072033, District 23   360010143012056, District 36
360010137052010, District 24    360010137072018, District 23   360010143024056, District 38
360010148022000, District 39    360010137053001, District 25   360010143021025, District 36
360010148021007, District 39    360010137051002, District 24   360010142035031, District 35
360010148021017, District 39    360010137053002, District 25   360010142021010, District 34
360010148022020, District 39    360010137071017, District 23   360010143024014, District 38
360010148023069, District 39    360010148022028, District 39   360010142032028, District 35
360010148023075, District 39    360010148023012, District 39   360010142023025, District 33
360010148023072, District 39    360010148023014, District 39   360010141003023, District 34
360010148023046, District 39    360010148023071, District 39   360010143021004, District 36
360010148021028, District 39    360010148023097, District 39   360010141001024, District 11
360010148021000, District 39    360010148023020, District 39   360010142014021, District 36
360010148011107, District 39    360010148023007, District 39   360010141004024, District 9
360010143024054, District 38    360010148022010, District 39   360010141003019, District 34
360010143022006, District 36    360010148023092, District 39   360010141001025, District 11
360010143024070, District 36    360010134003008, District 15   360010141004004, District 9
360010143024068, District 36    360010132001014, District 16   360010143024022, District 38
360010143024058, District 36    360010134003033, District 15   360010143012021, District 36
360010143012031, District 36    360010133003014, District 15   360010143021020, District 35


Block Equivalency File                      April 13, 2015                                    Page 23
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 24 of 55

360010141001018, District 11    360010140011021, District 24   360010148011060, District 31
360010135083053, District 20    360010135072012, District 22   360010148011126, District 39
360010136021064, District 14    360010135081009, District 19   360010148011041, District 39
360010136023007, District 14    360010135081005, District 18   360010148011045, District 39
360010136023013, District 14    360010135032020, District 19   360010148012057, District 39
360010136022009, District 14    360010135063011, District 20   360010138021006, District 22
360010136023004, District 14    360010135062005, District 20   360010136021038, District 14
360010136023000, District 14    360010135032023, District 19   360010137031117, District 22
360010137053039, District 25    360010135033006, District 20   360010135033016, District 16
360010137054007, District 25    360010135071007, District 22   360010136014005, District 21
360010136015002, District 15    360010135062006, District 20   360010140013001, District 26
360010135081008, District 19    360010140013029, District 26   360010140013012, District 26
360010135071006, District 22    360010140024004, District 25   360010137031099, District 22
360010137031026, District 22    360010140024007, District 25   360010139023009, District 23
360010137053017, District 25    360010140023006, District 25   360010137031109, District 23
360010135061032, District 20    360010137052020, District 24   360010135081014, District 19
360010131001035, District 16    360010135061038, District 20   360010140011003, District 24
360010131001040, District 16    360010145031029, District 33   360010135031005, District 19
360010148023044, District 39    360010145011043, District 38   360010140012001, District 26
360010148023018, District 39    360010145022026, District 38   360010137054014, District 25
360010148023077, District 39    360010145022028, District 38   360010139011006, District 26
360010148023084, District 39    360010145022033, District 38   360010136021008, District 14
360010148023095, District 39    360010145022044, District 38   360010146092009, District 32
360010148023042, District 39    360010145022046, District 38   360010146151003, District 28
360010148023055, District 39    360010145022039, District 38   360010146092001, District 32
360010148023081, District 39    360010145022067, District 38   360010146112007, District 29
360010148022011, District 39    360010145011019, District 33   360010146143010, District 30
360010148023024, District 39    360010145011018, District 33   360010146112014, District 29
360010148023029, District 39    360010145011003, District 33   360010146111038, District 32
360010148023108, District 39    360010011001058, District 6    360010146111021, District 32
360010148011131, District 39    360010011001120, District 6    360010146071007, District 28
360010148012082, District 39    360010011001007, District 6    360010146082018, District 30
360010148012054, District 39    360010011001003, District 3    360010146082011, District 30
360010148011093, District 39    360010011001028, District 6    360010146143004, District 30
360010148011168, District 39    360010002001048, District 6    360010146093003, District 30
360010148011030, District 39    360010022001002, District 5    360010146151007, District 28
360010148011084, District 39    360010004011036, District 12   360010146111031, District 32
360010148011152, District 39    360010018022033, District 10   360010146111042, District 32
360010148011026, District 39    360010004011052, District 12   360010147002093, District 39
360010148011070, District 31    360010021002002, District 8    360010147002041, District 31
360010148011022, District 39    360010001002002, District 3    360010147001008, District 31
360010148011038, District 39    360010017001005, District 10   360010017002003, District 10
360010148011142, District 39    360010148011115, District 31   360010017001025, District 13


Block Equivalency File                      April 13, 2015                                    Page 24
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 25 of 55

360010016002000, District 7     360010144022006, District 37   360010144013018, District 37
360010017003005, District 10    360010144022003, District 37   360010144013008, District 37
360010017003008, District 8     360010146092025, District 32   360010144011007, District 37
360010017003002, District 10    360010146141003, District 32   360010144013030, District 37
360010019022001, District 8     360010146081029, District 32   360010144012047, District 37
360010026001000, District 6     360010146075057, District 28   360010144022018, District 37
360010026001005, District 1     360010146131001, District 31   360010144011071, District 37
360010026003006, District 1     360010146112006, District 29   360010144011022, District 37
360010023001005, District 1     360010146081004, District 32   360010144011040, District 37
360010026003003, District 1     360010146144011, District 30   360010144021006, District 37
360010026003009, District 1     360010146093000, District 32   360010146144009, District 30
360010026003023, District 1     360010146131003, District 31   360010146063042, District 29
360010026003013, District 1     360010146131018, District 31   360010146111024, District 32
360010023001002, District 6     360010146132048, District 31   360010146074002, District 29
360010025004005, District 1     360010146121019, District 31   360010146075034, District 12
360010026003024, District 1     360010146121017, District 31   360010146061009, District 29
360010011001142, District 6     360010146081010, District 32   360010146093013, District 32
360010025003016, District 6     360010146093001, District 30   360010146075013, District 28
360010025002008, District 6     360010146074011, District 28   360010146133002, District 31
360010003001043, District 11    360010018015019, District 9    360010146071001, District 28
360010018012022, District 11    360010026004007, District 1    360010146144006, District 30
360010003004006, District 3     360010011001115, District 6    360010146082013, District 30
360010016004002, District 8     360010026004002, District 1    360010146142009, District 30
360010016002002, District 10    360010021002001, District 5    360010146081022, District 30
360010019012002, District 8     360010003001012, District 12   360010146082006, District 30
360010025003001, District 6     360010025001001, District 6    360010146142003, District 30
360010004011040, District 12    360010004034010, District 11   360010148032012, District 39
360010144012005, District 37    360010011001024, District 6    360010148031141, District 39
360010144011070, District 37    360010026004013, District 1    360010148031005, District 39
360010144011023, District 37    360010002001045, District 2    360010148031142, District 39
360010144013037, District 37    360010011001027, District 6    360010148031107, District 39
360010144012063, District 37    360010011001153, District 6    360010148031092, District 39
360010144011000, District 37    360010020005019, District 1    360010148032024, District 39
360010144011028, District 37    360010011001104, District 6    360010148031116, District 39
360010144011024, District 37    360010002001004, District 3    360010148031108, District 39
360010144022016, District 37    360010141002026, District 9    360010148031121, District 39
360010144022021, District 37    360010142021020, District 34   360010148031126, District 39
360010144011067, District 37    360010143021007, District 36   360010148031063, District 39
360010144022020, District 37    360010143021008, District 36   360010143011014, District 36
360010144022043, District 37    360010141004017, District 9    360010143012015, District 36
360010144022049, District 37    360010143021016, District 36   360010143024071, District 36
360010144011062, District 37    360010144012051, District 37   360010143023021, District 35
360010144012056, District 37    360010144012067, District 37   360010143012047, District 36


Block Equivalency File                      April 13, 2015                                    Page 25
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 26 of 55

360010143021043, District 36    360010143022011, District 36   360010132005014, District 15
360010143012011, District 36    360010143021031, District 36   360010134002010, District 15
360010142032023, District 35    360010143022005, District 36   360010134003010, District 15
360010142011006, District 34    360010142035002, District 35   360010134001013, District 14
360010142024009, District 33    360010143022041, District 36   360010134001014, District 15
360010142024007, District 33    360010143011038, District 36   360010134003018, District 15
360010137051008, District 24    360010143024083, District 38   360010132003002, District 16
360010137051000, District 24    360010143012046, District 36   360010134003001, District 15
360010135051013, District 21    360010143021021, District 35   360010133003006, District 15
360010135051019, District 21    360010143024032, District 36   360010148031158, District 39
360010135052028, District 21    360010137071000, District 23   360010148031114, District 39
360010137061010, District 25    360010136014006, District 21   360010146111029, District 32
360010137053014, District 25    360010137061023, District 25   360010146075050, District 28
360010137061027, District 25    360010137061025, District 25   360010146075017, District 28
360010137061030, District 25    360010136011049, District 14   360010146073020, District 28
360010136011046, District 14    360010136011032, District 14   360010146132017, District 31
360010136011033, District 14    360010137072025, District 23   360010146072004, District 29
360010136021004, District 14    360010137061000, District 25   360010146131049, District 31
360010136011008, District 15    360010137053009, District 25   360010146143009, District 30
360010137071025, District 21    360010137061012, District 25   360010146082023, District 30
360010136013000, District 21    360010136012023, District 14   360010146142020, District 30
360010137072005, District 23    360010135052012, District 21   360010146142007, District 30
360010137061009, District 25    360010135062021, District 20   360010146142017, District 30
360010136013017, District 21    360010135052032, District 21   360010146142010, District 30
360010136015006, District 15    360010135052007, District 21   360010146142001, District 30
360010137061003, District 25    360010136012008, District 14   360010146142000, District 30
360010135062010, District 20    360010136014025, District 14   360010146071014, District 28
360010135052019, District 21    360010140012002, District 26   360010148031053, District 39
360010148021003, District 39    360010136021026, District 14   360010148031018, District 39
360010148023041, District 39    360010135061047, District 16   360010148031021, District 39
360010148023059, District 39    360010133002015, District 16   360010148032039, District 39
360010148022014, District 39    360010133002000, District 16   360010148032043, District 39
360010148023039, District 39    360010132001010, District 16   360010148031035, District 39
360010148023038, District 39    360010133004011, District 15   360010148031134, District 39
360010148023032, District 39    360010133004021, District 15   360010018013022, District 10
360010148023002, District 39    360010133003026, District 15   360010011001010, District 6
360010142024008, District 33    360010133003027, District 15   360010002001023, District 3
360010143024041, District 38    360010133003032, District 15   360010004034033, District 11
360010142014004, District 36    360010133002016, District 16   360010142035019, District 38
360010142013012, District 35    360010133003020, District 15   360010142023002, District 33
360010141004020, District 9     360010132003022, District 15   360010141003027, District 9
360010143021047, District 36    360010133004020, District 15   360010142023017, District 33
360010143024018, District 38    360010133004009, District 15   360010142021001, District 34


Block Equivalency File                      April 13, 2015                                    Page 26
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 27 of 55

360010141003011, District 34    360010133003023, District 15   360010137053021, District 25
360010142031001, District 34    360010133004006, District 15   360010136021002, District 14
360010142035021, District 38    360010132002004, District 16   360010145031022, District 33
360010142022003, District 34    360010133004010, District 15   360010145031016, District 33
360010142022008, District 34    360010133003008, District 15   360010145011016, District 33
360010142022000, District 34    360010134003028, District 15   360010145032008, District 33
360010141003007, District 34    360010133004005, District 15   360010145021019, District 38
360010142035006, District 35    360010142013014, District 35   360010145011099, District 33
360010142022010, District 34    360010143024011, District 38   360010145011017, District 33
360010142022012, District 34    360010143024066, District 36   360010145011030, District 38
360010142021012, District 34    360010142021007, District 34   360010148021012, District 39
360010142034010, District 34    360010142014011, District 36   360010148021015, District 39
360010142033021, District 34    360010142024013, District 33   360010148021061, District 39
360010131002012, District 16    360010141004003, District 9    360010148021029, District 39
360010131003009, District 16    360010141001011, District 11   360010148021066, District 39
360010131002010, District 16    360010141002005, District 9    360010148021085, District 39
360010131002005, District 16    360010143024099, District 38   360010148021082, District 39
360010131002003, District 16    360010142035033, District 35   360010148022015, District 39
360010131003025, District 16    360010143022003, District 36   360010148022022, District 39
360010131001027, District 16    360010143022029, District 38   360010148012075, District 39
360010131001003, District 16    360010142023040, District 33   360010148012065, District 39
360010131001019, District 16    360010141001006, District 11   360010148012079, District 39
360010146081002, District 32    360010141001017, District 9    360010148012077, District 39
360010146144010, District 30    360010136012006, District 14   360010148011064, District 39
360010146111011, District 32    360010137031113, District 23   360010148011059, District 31
360010148023019, District 39    360010137052017, District 24   360010148011057, District 39
360010148023025, District 39    360010137053034, District 25   360010137061005, District 25
360010148022012, District 39    360010137031127, District 26   360010136015011, District 15
360010133002014, District 16    360010136023017, District 14   360010139022007, District 26
360010132003014, District 15    360010138022009, District 22   360010138021010, District 22
360010132003005, District 15    360010135071022, District 22   360010137073022, District 23
360010132001022, District 16    360010139023004, District 23   360010136022013, District 14
360010134003034, District 15    360010135081000, District 18   360010136021045, District 14
360010134003060, District 14    360010135032009, District 18   360010135061007, District 16
360010134003009, District 15    360010138016013, District 27   360010138011004, District 27
360010134003019, District 15    360010138016009, District 27   360010136014024, District 21
360010133003010, District 16    360010138016008, District 27   360010136021060, District 14
360010133003011, District 15    360010138016012, District 27   360010136014023, District 21
360010133001013, District 16    360010138016020, District 27   360010137031077, District 22
360010133001006, District 16    360010138015014, District 27   360010137031084, District 22
360010133001011, District 16    360010137031119, District 22   360010135061033, District 20
360010133002010, District 16    360010135061016, District 20   360010147001011, District 31
360010133001007, District 16    360010137054002, District 25   360010147002090, District 39


Block Equivalency File                      April 13, 2015                                    Page 27
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 28 of 55

360010147002082, District 39    360010127003014, District 17   360010020005033, District 1
360010147002108, District 39    360010127002011, District 17   360010019013000, District 8
360010147001048, District 31    360010129002017, District 17   360010003001016, District 3
360010147002079, District 39    360010127003012, District 17   360010002001015, District 3
360010147002098, District 39    360010127001018, District 17   360010008002002, District 2
360010147002119, District 39    360010127003002, District 17   360010004031002, District 13
360010147002109, District 39    360010127001012, District 17   360010144013074, District 37
360010147001004, District 31    360010146063029, District 31   360010144013072, District 37
360010147002032, District 31    360010146132007, District 31   360010144013061, District 37
360010147001081, District 39    360010146063044, District 29   360010144013066, District 37
360010018023006, District 11    360010146063035, District 29   360010144012024, District 37
360010003004015, District 3     360010146062003, District 29   360010144013031, District 37
360010020005034, District 1     360010146073023, District 28   360010144013069, District 37
360010026002004, District 1     360010146063001, District 29   360010144012033, District 37
360010002001042, District 2     360010146074018, District 29   360010144012058, District 37
360010003001019, District 11    360010146074021, District 29   360010144012055, District 37
360010002001002, District 3     360010146131040, District 31   360010144011037, District 37
360010018022003, District 11    360010146131056, District 31   360010146082024, District 30
360010025003015, District 6     360010146132039, District 31   360010146082017, District 30
360010004011048, District 12    360010146151005, District 28   360010146091004, District 30
360010014003004, District 5     360010146073029, District 28   360010146133019, District 31
360010011001080, District 6     360010146073033, District 28   360010146144026, District 30
360010004011039, District 12    360010146075021, District 28   360010146143013, District 30
360010011001039, District 6     360010146075054, District 28   360010146093006, District 32
360010004032005, District 13    360010146074006, District 29   360010146141006, District 32
360010018022016, District 11    360010146093016, District 32   360010146072000, District 28
360010004011081, District 12    360010146144021, District 32   360010146071005, District 28
360010004032007, District 13    360010003001061, District 12   360010146075024, District 12
360010011001097, District 6     360010004011038, District 12   360010146093009, District 30
360010017001009, District 10    360010004011053, District 12   360010146111009, District 32
360010017001011, District 10    360010002001000, District 3    360010146073030, District 28
360010011001073, District 5     360010020005042, District 1    360010146075028, District 12
360010004011035, District 12    360010026004006, District 1    360010146121029, District 31
360010003001031, District 12    360010004011079, District 12   360010146143002, District 30
360010144021005, District 37    360010004011058, District 12   360010146075011, District 28
360010144013033, District 37    360010004011063, District 12   360010146112002, District 29
360010144013047, District 37    360010004011022, District 12   360010148031138, District 39
360010144022008, District 37    360010011001113, District 6    360010148031146, District 39
360010144012000, District 37    360010019022008, District 9    360010148032055, District 39
360010144022046, District 37    360010011001133, District 6    360010148032005, District 39
360010127001000, District 17    360010002001027, District 3    360010148031002, District 39
360010128001004, District 17    360010017004014, District 10   360010148031030, District 39
360010128001023, District 17    360010004011016, District 12   360010148031044, District 39


Block Equivalency File                      April 13, 2015                                    Page 28
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 29 of 55

360010148032011, District 39    360010148022017, District 39   360010136021074, District 14
360010148031139, District 39    360010148023057, District 39   360010136023008, District 14
360010143024013, District 38    360010148023010, District 39   360010136023024, District 14
360010143024063, District 36    360010148023022, District 39   360010135061062, District 20
360010141001021, District 11    360010148021048, District 39   360010135032006, District 18
360010142024003, District 33    360010133004022, District 15   360010136021069, District 14
360010143023001, District 35    360010134003027, District 15   360010136021032, District 14
360010142021016, District 34    360010132001026, District 15   360010135081006, District 19
360010142035026, District 35    360010132002007, District 16   360010136015005, District 15
360010141002022, District 9     360010134003051, District 15   360010135083012, District 19
360010141002003, District 9     360010134003026, District 14   360010137052012, District 23
360010141001003, District 11    360010133003031, District 15   360010131001002, District 16
360010141001026, District 11    360010132005002, District 15   360010131001014, District 16
360010141003025, District 33    360010133003013, District 15   360010131001009, District 16
360010142023007, District 33    360010132003018, District 15   360010131001024, District 16
360010142023016, District 33    360010132002010, District 16   360010131001041, District 16
360010141003004, District 34    360010134003053, District 14   360010131001010, District 16
360010142031000, District 34    360010132004000, District 15   360010148031071, District 39
360010143012027, District 36    360010134003042, District 15   360010148032030, District 39
360010143012019, District 36    360010134002013, District 14   360010148032013, District 39
360010142013022, District 35    360010133002009, District 16   360010148031047, District 39
360010142022006, District 34    360010133002012, District 16   360010148031059, District 39
360010135052016, District 21    360010133003025, District 15   360010148031100, District 39
360010135052009, District 21    360010133003018, District 15   360010148031125, District 39
360010136013015, District 21    360010132001004, District 16   360010148031109, District 39
360010136012000, District 14    360010133004002, District 15   360010146111007, District 32
360010136012004, District 14    360010143012023, District 36   360010146072003, District 28
360010136012011, District 14    360010142014001, District 36   360010146151019, District 32
360010136011040, District 14    360010143024043, District 38   360010146143014, District 30
360010136021041, District 14    360010142014028, District 36   360010146111034, District 32
360010136023025, District 14    360010141002029, District 9    360010146111044, District 32
360010136023018, District 14    360010142023015, District 33   360010146144018, District 32
360010136021034, District 14    360010143021019, District 35   360010146093002, District 30
360010140024005, District 25    360010142014013, District 36   360010146082010, District 30
360010138023011, District 27    360010143012039, District 36   360010146091003, District 30
360010138011003, District 27    360010143021033, District 36   360010146081001, District 32
360010138012010, District 27    360010141004001, District 9    360010146081025, District 30
360010138012006, District 27    360010142023024, District 33   360010146075004, District 28
360010136021027, District 14    360010143021009, District 36   360010146061001, District 29
360010136015014, District 15    360010143024038, District 36   360010023002003, District 6
360010135081011, District 19    360010143023022, District 35   360010003001041, District 11
360010137031025, District 22    360010141001022, District 11   360010002001016, District 3
360010138017000, District 27    360010143012006, District 36   360010002001046, District 2


Block Equivalency File                      April 13, 2015                                    Page 29
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 30 of 55

360010018015006, District 10    360010146081023, District 30   360010138022012, District 22
360010003001003, District 12    360010146081026, District 30   360010138022010, District 22
360010011001041, District 6     360010146151025, District 28   360010137031071, District 22
360010011001016, District 6     360010146131016, District 31   360010137031034, District 23
360010014003008, District 5     360010146132012, District 31   360010137031022, District 22
360010001001048, District 3     360010146131000, District 31   360010138013004, District 27
360010003002000, District 3     360010132001008, District 16   360010138017015, District 27
360010011001137, District 6     360010132003021, District 15   360010135082022, District 19
360010025002009, District 6     360010132003008, District 16   360010137031016, District 22
360010014003019, District 5     360010132003012, District 15   360010135083070, District 20
360010003001022, District 11    360010133004007, District 15   360010136021058, District 14
360010025001013, District 6     360010134002016, District 14   360010138017024, District 26
360010001001000, District 3     360010132004002, District 15   360010136011012, District 15
360010025001006, District 6     360010134001001, District 14   360010135061059, District 16
360010014003015, District 5     360010134003013, District 15   360010137031103, District 23
360010011001114, District 6     360010133003005, District 15   360010137072034, District 23
360010007001006, District 3     360010148032017, District 39   360010137052019, District 24
360010142034007, District 34    360010148031093, District 39   360010137054000, District 25
360010142021008, District 34    360010148031106, District 39   360010137053000, District 25
360010142033020, District 34    360010148031133, District 39   360010135062011, District 20
360010142033017, District 34    360010148032026, District 39   360010135051012, District 21
360010142031012, District 34    360010148031075, District 39   360010148021062, District 39
360010142031011, District 34    360010148031112, District 39   360010148021036, District 39
360010142031015, District 34    360010148031085, District 39   360010148021055, District 39
360010142031020, District 34    360010148031102, District 39   360010148022016, District 39
360010142031008, District 35    360010143021051, District 36   360010148023034, District 39
360010142032003, District 34    360010142024015, District 33   360010148021057, District 39
360010142011010, District 34    360010142035020, District 38   360010148023096, District 39
360010142012005, District 35    360010143012020, District 36   360010148023076, District 39
360010142031024, District 35    360010143011020, District 36   360010148023035, District 39
360010142023013, District 33    360010143012037, District 36   360010148023045, District 39
360010142032020, District 35    360010143022010, District 36   360010148022045, District 39
360010142014016, District 36    360010143022039, District 36   360010148022034, District 39
360010141002002, District 9     360010143022042, District 36   360010148021045, District 39
360010142013015, District 35    360010143011026, District 36   360010148011056, District 39
360010143021046, District 36    360010143011015, District 36   360010148011137, District 31
360010143024007, District 38    360010143011016, District 36   360010148011101, District 39
360010143024080, District 36    360010143011034, District 36   360010148011158, District 39
360010143022016, District 36    360010143011008, District 36   360010148011094, District 39
360010143022043, District 38    360010143011012, District 36   360010148011175, District 39
360010143022030, District 36    360010141001027, District 11   360010148012074, District 39
360010146131010, District 31    360010138015001, District 27   360010148011085, District 39
360010146082000, District 30    360010138022006, District 22   360010148011037, District 39


Block Equivalency File                      April 13, 2015                                    Page 30
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 31 of 55

360010148011032, District 39    360010019021007, District 8    360010146075045, District 12
360010138023000, District 22    360010019011000, District 8    360010146081028, District 32
360010135083015, District 19    360010015001004, District 7    360010146111005, District 32
360010137031089, District 22    360010021003002, District 5    360010146111045, District 32
360010138023013, District 22    360010021003004, District 5    360010146132047, District 31
360010135071010, District 20    360010025001036, District 6    360010146072013, District 29
360010137072006, District 23    360010025001019, District 6    360010146132023, District 31
360010136014029, District 21    360010025001024, District 6    360010146111020, District 32
360010135061057, District 16    360010025001022, District 6    360010146071000, District 28
360010136022022, District 14    360010026004016, District 1    360010146092028, District 32
360010136011027, District 14    360010026004033, District 1    360010146151009, District 28
360010135052026, District 21    360010025002000, District 6    360010146132050, District 31
360010137054015, District 25    360010018015016, District 9    360010003004002, District 3
360010135061056, District 16    360010018015013, District 9    360010003001014, District 3
360010137052005, District 24    360010127003001, District 17   360010005014002, District 13
360010137052000, District 23    360010127003007, District 17   360010004032012, District 13
360010137054004, District 25    360010127002007, District 17   360010018011000, District 10
360010135052018, District 21    360010129002008, District 17   360010018011001, District 10
360010135032018, District 18    360010129002002, District 17   360010017001006, District 10
360010147001025, District 31    360010128003004, District 17   360010017001003, District 13
360010147002010, District 31    360010130001006, District 18   360010017001001, District 13
360010147001034, District 31    360010130001005, District 18   360010016002001, District 7
360010147002078, District 31    360010130004010, District 16   360010016001005, District 7
360010147002004, District 31    360010130001007, District 18   360010019013006, District 8
360010147002064, District 31    360010130002013, District 18   360010019013003, District 8
360010147002047, District 31    360010128002007, District 17   360010026001001, District 6
360010147002026, District 31    360010130004013, District 16   360010026003007, District 1
360010147002067, District 31    360010130001004, District 18   360010026003004, District 1
360010145021030, District 38    360010130001003, District 18   360010003001026, District 12
360010145023018, District 38    360010130001016, District 18   360010026003018, District 1
360010020005024, District 1     360010129004006, District 18   360010023002018, District 6
360010026004038, District 1     360010129002006, District 18   360010023002009, District 6
360010004041015, District 12    360010130005009, District 18   360010023002013, District 6
360010004041011, District 12    360010130003002, District 18   360010023002015, District 6
360010003001011, District 12    360010130003007, District 17   360010023002014, District 6
360010018015024, District 9     360010130003003, District 17   360010023002011, District 6
360010019021000, District 9     360010130003012, District 17   360010023002017, District 6
360010016001004, District 7     360010128003009, District 17   360010025004002, District 6
360010006003001, District 4     360010146093010, District 32   360010025001010, District 6
360010016001000, District 7     360010146091000, District 30   360010144022035, District 37
360010015001001, District 7     360010146091006, District 30   360010144022002, District 37
360010006003009, District 7     360010146092000, District 32   360010144013013, District 37
360010015003002, District 7     360010146092010, District 32   360010144013049, District 37


Block Equivalency File                      April 13, 2015                                    Page 31
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 32 of 55

360010144013003, District 37    360010001001055, District 3    360010132001002, District 16
360010144012019, District 37    360010001001026, District 3    360010132005004, District 15
360010144012059, District 37    360010142022013, District 34   360010132005007, District 15
360010144013026, District 37    360010142022019, District 34   360010132005010, District 15
360010144022053, District 37    360010142034006, District 34   360010132005015, District 15
360010144013010, District 37    360010142034004, District 34   360010134003040, District 15
360010144013040, District 37    360010142033006, District 34   360010134001000, District 14
360010128001028, District 17    360010142033014, District 34   360010132004010, District 15
360010128004011, District 17    360010142031004, District 34   360010134002014, District 14
360010130005003, District 18    360010142031013, District 34   360010134002005, District 14
360010127003008, District 17    360010142032019, District 35   360010134001005, District 14
360010146081018, District 30    360010142032004, District 35   360010134001006, District 14
360010146121000, District 31    360010142031017, District 35   360010134001010, District 15
360010146144008, District 30    360010142031018, District 35   360010134001011, District 15
360010146072015, District 29    360010142012010, District 35   360010134003014, District 15
360010146121003, District 31    360010142012004, District 35   360010134003012, District 15
360010146132011, District 31    360010142031021, District 35   360010134003015, District 15
360010146121008, District 31    360010143024035, District 36   360010134003050, District 15
360010146121023, District 31    360010142012012, District 35   360010134003025, District 14
360010146081012, District 32    360010142013003, District 35   360010148032073, District 39
360010146063023, District 31    360010142013002, District 35   360010148032028, District 39
360010146062007, District 29    360010142013000, District 36   360010148031042, District 39
360010146062010, District 29    360010143023025, District 35   360010148032078, District 39
360010146062012, District 29    360010142013023, District 35   360010148031014, District 39
360010146074017, District 29    360010142031016, District 35   360010148031022, District 39
360010146063041, District 29    360010142035005, District 35   360010148031096, District 39
360010146151033, District 32    360010135031004, District 19   360010148031094, District 39
360010148032033, District 39    360010131001029, District 16   360010148031009, District 39
360010148032063, District 39    360010131003018, District 16   360010143024084, District 38
360010148032067, District 39    360010131003008, District 16   360010142013010, District 35
360010148032002, District 39    360010131001039, District 16   360010141002014, District 9
360010003003046, District 3     360010131003003, District 16   360010142032026, District 35
360010003004023, District 3     360010131001050, District 16   360010141002015, District 9
360010004033013, District 13    360010131002007, District 16   360010141001013, District 11
360010011001090, District 6     360010131003005, District 16   360010141001010, District 11
360010003001034, District 12    360010131001058, District 16   360010142023005, District 33
360010018022035, District 10    360010131002018, District 16   360010142023008, District 33
360010018022022, District 10    360010131003000, District 16   360010142021002, District 34
360010011001032, District 6     360010131001001, District 16   360010141004008, District 9
360010026004005, District 6     360010131002014, District 16   360010142023022, District 33
360010004034024, District 11    360010146112021, District 29   360010142023029, District 33
360010004011026, District 12    360010146131005, District 31   360010142023023, District 33
360010004041001, District 12    360010146061003, District 29   360010141003006, District 34


Block Equivalency File                      April 13, 2015                                    Page 32
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 33 of 55

360010141003009, District 34    360010146074023, District 29   360010144012003, District 37
360010143012026, District 36    360010146131035, District 31   360010144011009, District 37
360010143012073, District 36    360010146075022, District 28   360010144022036, District 37
360010142023036, District 33    360010146133015, District 31   360010144022030, District 37
360010142022023, District 34    360010146062006, District 29   360010146092030, District 32
360010131001060, District 16    360010146081035, District 32   360010146112012, District 29
360010131002015, District 16    360010146075010, District 28   360010146081016, District 30
360010131001051, District 16    360010017001017, District 10   360010146111028, District 32
360010131001061, District 16    360010026004018, District 6    360010146092014, District 32
360010131001053, District 16    360010011001116, District 6    360010146072010, District 28
360010131003027, District 16    360010003003002, District 3    360010146132013, District 31
360010131003023, District 16    360010001001033, District 3    360010146075053, District 28
360010131001023, District 16    360010025001015, District 6    360010146075000, District 28
360010131001037, District 16    360010004011067, District 12   360010146075006, District 28
360010131001046, District 16    360010004011046, District 12   360010146075051, District 28
360010131001052, District 16    360010004034008, District 11   360010146073000, District 28
360010146144016, District 30    360010018022024, District 11   360010146073028, District 28
360010146132020, District 31    360010004011076, District 12   360010146132051, District 31
360010146111017, District 31    360010001001004, District 3    360010148031083, District 39
360010146112018, District 29    360010025002001, District 6    360010148031143, District 39
360010146131011, District 31    360010004041012, District 12   360010148031016, District 39
360010148031110, District 39    360010023002005, District 6    360010148031024, District 39
360010148031060, District 39    360010003002004, District 4    360010148031020, District 39
360010148031120, District 39    360010003004013, District 3    360010148031011, District 39
360010148031111, District 39    360010003004007, District 3    360010148032016, District 39
360010148031064, District 39    360010004033008, District 13   360010148032062, District 39
360010148031076, District 39    360010018012000, District 10   360010148032057, District 39
360010148032020, District 39    360010017004001, District 10   360010148032018, District 39
360010148032022, District 39    360010143022014, District 36   360010148032044, District 39
360010148032029, District 39    360010141002009, District 9    360010142021004, District 34
360010146133021, District 31    360010141004012, District 9    360010142011012, District 34
360010146073031, District 28    360010143021001, District 36   360010143011033, District 36
360010146131019, District 31    360010141004013, District 9    360010142011023, District 34
360010146131039, District 31    360010144012016, District 37   360010143024075, District 36
360010146073016, District 28    360010144013005, District 37   360010143011023, District 36
360010146143000, District 30    360010144012008, District 37   360010142021011, District 34
360010146131013, District 31    360010144012034, District 37   360010143023018, District 35
360010146131012, District 31    360010144021012, District 37   360010142023004, District 33
360010146121015, District 31    360010144013075, District 37   360010143021006, District 36
360010146121022, District 31    360010144011041, District 37   360010142035025, District 38
360010146121011, District 31    360010144013042, District 37   360010143023016, District 35
360010146075014, District 28    360010144022004, District 37   360010143021045, District 36
360010146073014, District 28    360010144012002, District 37   360010143021040, District 36


Block Equivalency File                      April 13, 2015                                    Page 33
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 34 of 55

360010143024040, District 38    360010132001029, District 16   360010145031033, District 33
360010141003001, District 34    360010132003000, District 16   360010145022011, District 38
360010142024010, District 33    360010132003004, District 15   360010145021018, District 38
360010142035003, District 35    360010148011019, District 39   360010145022057, District 38
360010135051000, District 21    360010148011036, District 39   360010145032013, District 33
360010135083066, District 19    360010148011122, District 39   360010145011053, District 38
360010137061033, District 25    360010148011135, District 39   360010145011059, District 38
360010136011044, District 14    360010148011148, District 39   360010019023010, District 9
360010136021007, District 14    360010148011171, District 39   360010020005015, District 9
360010136021010, District 14    360010148011027, District 39   360010020002000, District 1
360010136011030, District 14    360010148012063, District 39   360010020002002, District 1
360010136023001, District 14    360010148011078, District 39   360010004011028, District 12
360010136013004, District 21    360010148012060, District 39   360010014003017, District 5
360010135052030, District 21    360010148011105, District 39   360010026004023, District 1
360010137072001, District 23    360010143011027, District 36   360010007001000, District 3
360010137072024, District 23    360010142023014, District 33   360010003003009, District 3
360010137061002, District 25    360010143022021, District 38   360010003003050, District 3
360010137072038, District 25    360010137051018, District 24   360010003002005, District 4
360010137071018, District 21    360010135061002, District 16   360010006003008, District 4
360010136022017, District 14    360010137031065, District 22   360010006003015, District 7
360010135062023, District 20    360010137031036, District 22   360010006002001, District 4
360010135052008, District 21    360010138017022, District 26   360010006002002, District 4
360010136013013, District 21    360010139012001, District 26   360010006001002, District 4
360010135052014, District 21    360010139012011, District 26   360010017001014, District 10
360010135052017, District 21    360010139022001, District 23   360010008003006, District 4
360010136012005, District 14    360010139021009, District 23   360010007003008, District 4
360010137053028, District 25    360010139021006, District 23   360010008002001, District 2
360010136011035, District 14    360010139012013, District 26   360010014003005, District 2
360010135061051, District 16    360010139012008, District 26   360010021002009, District 8
360010148021024, District 39    360010140013033, District 26   360010021001008, District 5
360010148022009, District 39    360010140013009, District 26   360010022002004, District 6
360010148023088, District 39    360010137031000, District 22   360010022002003, District 6
360010148023064, District 39    360010136023012, District 14   360010002003001, District 2
360010148022049, District 39    360010135082009, District 19   360010007003002, District 3
360010148023013, District 39    360010135082027, District 19   360010129001023, District 18
360010148023036, District 39    360010135082010, District 19   360010128004008, District 17
360010148023079, District 39    360010135082028, District 19   360010128001014, District 17
360010148022050, District 39    360010135082029, District 19   360010128002000, District 17
360010148023008, District 39    360010135082020, District 19   360010128001022, District 17
360010148022003, District 39    360010135082025, District 19   360010130002021, District 18
360010134003046, District 15    360010145021004, District 38   360010128004009, District 17
360010133003002, District 15    360010145011039, District 38   360010128002004, District 17
360010133004023, District 15    360010145021038, District 38   360010127001016, District 17


Block Equivalency File                      April 13, 2015                                    Page 34
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 35 of 55

360010127001022, District 17    360010127001023, District 17   360010146072017, District 29
360010129001010, District 18    360010127003011, District 17   360010146082016, District 30
360010129001007, District 18    360010127003013, District 17   360010146075037, District 28
360010137071008, District 23    360010130004006, District 16   360010146081021, District 30
360010135061042, District 16    360010130001008, District 18   360010004011002, District 12
360010137031066, District 22    360010130002016, District 18   360010018015009, District 9
360010136011019, District 14    360010130002002, District 18   360010004041000, District 12
360010140011022, District 24    360010130001010, District 18   360010014003012, District 5
360010146121020, District 31    360010130004008, District 16   360010020005035, District 1
360010146063012, District 29    360010130002020, District 18   360010004011080, District 12
360010147002025, District 31    360010130004007, District 16   360010014003026, District 5
360010147001070, District 39    360010129004004, District 18   360010020005041, District 1
360010147001049, District 31    360010129001014, District 18   360010025001005, District 6
360010147002089, District 39    360010129001012, District 18   360010026004030, District 1
360010147002099, District 39    360010129003002, District 18   360010004011020, District 12
360010147002106, District 39    360010130005004, District 18   360010018021014, District 11
360010147002107, District 39    360010130003010, District 18   360010003001017, District 3
360010147002102, District 39    360010130003011, District 17   360010018013024, District 10
360010147002100, District 39    360010130004001, District 17   360010004011071, District 12
360010004011072, District 12    360010128003011, District 17   360010017004011, District 10
360010004011008, District 12    360010128003008, District 17   360010004033011, District 11
360010020001008, District 8     360010128003013, District 17   360010004011027, District 12
360010002001022, District 3     360010128002010, District 17   360010004011032, District 12
360010011001101, District 6     360010128003000, District 17   360010025001012, District 6
360010025002002, District 6     360010146131037, District 31   360010025001018, District 6
360010025003006, District 6     360010146131054, District 31   360010142032013, District 35
360010020005006, District 9     360010146133025, District 31   360010143023007, District 35
360010018022012, District 11    360010146121006, District 31   360010142014019, District 36
360010003001050, District 13    360010146132032, District 31   360010142023020, District 33
360010020004007, District 9     360010146081027, District 30   360010143021027, District 36
360010020005017, District 1     360010146132049, District 31   360010143024009, District 38
360010007001014, District 3     360010146132030, District 31   360010143024006, District 38
360010018015021, District 9     360010146141007, District 32   360010143024002, District 38
360010018012014, District 10    360010146141004, District 32   360010143024074, District 36
360010017004000, District 10    360010146092004, District 32   360010143024081, District 36
360010011001134, District 6     360010146092026, District 32   360010143012008, District 36
360010007001005, District 3     360010146092032, District 32   360010141001000, District 11
360010004034001, District 12    360010146112022, District 29   360010146131021, District 31
360010023002007, District 6     360010146111013, District 31   360010146151013, District 29
360010018014000, District 10    360010146112003, District 29   360010146063016, District 31
360010018022017, District 11    360010146132022, District 31   360010146131044, District 31
360010004011025, District 12    360010146132024, District 31   360010146112020, District 29
360010127001017, District 17    360010146111026, District 32   360010146112017, District 29


Block Equivalency File                      April 13, 2015                                    Page 35
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 36 of 55

360010146112000, District 29    360010146151017, District 29   360010017001026, District 13
360010146112005, District 29    360010146131029, District 31   360010017002011, District 10
360010146133026, District 31    360010146073034, District 28   360010001001045, District 3
360010146132053, District 31    360010146062014, District 29   360010001001002, District 3
360010148031127, District 39    360010146131015, District 31   360010001001001, District 3
360010148031081, District 39    360010146081003, District 32   360010001001050, District 3
360010148031073, District 39    360010146063000, District 29   360010001001056, District 3
360010148031119, District 39    360010146075027, District 12   360010026004021, District 1
360010148031115, District 39    360010146075002, District 28   360010026003011, District 1
360010148031079, District 39    360010146093026, District 30   360010026004020, District 1
360010148031066, District 39    360010146072006, District 29   360010026004027, District 1
360010148032021, District 39    360010148032080, District 39   360010023002010, District 6
360010148032032, District 39    360010148031145, District 39   360010023002016, District 6
360010148032031, District 39    360010148031156, District 39   360010023002020, District 6
360010148032058, District 39    360010148031122, District 39   360010025004004, District 6
360010148032074, District 39    360010148031023, District 39   360010025005002, District 6
360010142034016, District 34    360010148031017, District 39   360010025004003, District 6
360010142034018, District 34    360010148031055, District 39   360010025005000, District 6
360010142034003, District 34    360010148031056, District 39   360010026004009, District 1
360010142034009, District 34    360010148032041, District 39   360010025003004, District 6
360010142033009, District 34    360010148032061, District 39   360010020004004, District 9
360010142034017, District 34    360010148032069, District 39   360010016004011, District 8
360010142033012, District 34    360010146073013, District 28   360010144013062, District 37
360010142021019, District 34    360010146081006, District 32   360010144011049, District 37
360010142034001, District 34    360010146092005, District 32   360010144013043, District 37
360010142033002, District 34    360010146092024, District 32   360010144012023, District 37
360010142033004, District 34    360010146093011, District 32   360010144012026, District 37
360010142033000, District 34    360010146112019, District 32   360010144012017, District 37
360010142033011, District 34    360010146073027, District 28   360010144012020, District 37
360010142033015, District 35    360010146072018, District 29   360010144013044, District 37
360010142031010, District 34    360010146132019, District 31   360010146142004, District 30
360010142032018, District 35    360010146112001, District 29   360010146142005, District 30
360010142012001, District 35    360010146151016, District 29   360010146144005, District 30
360010142012002, District 35    360010146132044, District 31   360010146144004, District 30
360010142011013, District 34    360010146061005, District 29   360010146082020, District 30
360010142031022, District 35    360010146072014, District 29   360010146142008, District 30
360010142012008, District 35    360010146072022, District 29   360010146091005, District 30
360010142012006, District 35    360010146072011, District 29   360010146151008, District 28
360010142035004, District 35    360010146111050, District 32   360010146144012, District 30
360010142013031, District 35    360010146092002, District 32   360010146144023, District 30
360010142033010, District 34    360010146075008, District 28   360010146111030, District 32
360010146131006, District 31    360010146133024, District 31   360010146071006, District 28
360010146074022, District 29    360010017001010, District 10   360010146131031, District 31


Block Equivalency File                      April 13, 2015                                    Page 36
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 37 of 55

360010146111033, District 32    360010136012021, District 14   360010134001002, District 14
360010146121010, District 31    360010136012012, District 14   360010134001003, District 14
360010146131038, District 31    360010136022026, District 14   360010134003056, District 15
360010146072021, District 29    360010136014022, District 14   360010134003058, District 14
360010146151010, District 28    360010136014021, District 14   360010132004008, District 15
360010148032006, District 39    360010135083031, District 19   360010132004011, District 15
360010148031050, District 39    360010135032017, District 18   360010132004013, District 15
360010148032000, District 39    360010137052011, District 24   360010132004014, District 15
360010148032079, District 39    360010138021017, District 22   360010134003007, District 15
360010148031052, District 39    360010138015010, District 27   360010142035024, District 38
360010001001035, District 3     360010138021003, District 27   360010142033019, District 34
360010003001008, District 3     360010136011002, District 15   360010143011004, District 36
360010025002010, District 6     360010131003020, District 16   360010142024016, District 33
360010017003009, District 8     360010131001045, District 16   360010142011015, District 34
360010026004001, District 1     360010131001036, District 16   360010142011016, District 34
360010011001040, District 6     360010131002011, District 16   360010143012051, District 36
360010003004000, District 3     360010131002017, District 16   360010143024078, District 36
360010141002007, District 9     360010131003002, District 16   360010142035012, District 38
360010142035008, District 35    360010131001059, District 16   360010143011010, District 36
360010143012028, District 36    360010131001055, District 16   360010139023011, District 23
360010143022008, District 36    360010131003026, District 16   360010137031046, District 23
360010141002016, District 9     360010131001021, District 16   360010139011004, District 26
360010142023039, District 33    360010132003003, District 15   360010139023033, District 26
360010141001002, District 11    360010132003001, District 16   360010140013015, District 26
360010141001001, District 11    360010133003009, District 15   360010140013006, District 26
360010141002008, District 9     360010134003006, District 15   360010140013017, District 26
360010142023011, District 33    360010133003004, District 15   360010135071009, District 22
360010142021018, District 34    360010133003033, District 15   360010135063000, District 20
360010141003002, District 34    360010133003001, District 15   360010135083062, District 19
360010142011007, District 34    360010133001010, District 16   360010135071003, District 22
360010143012007, District 36    360010133003015, District 15   360010135032003, District 18
360010143012022, District 36    360010133003024, District 15   360010135082000, District 19
360010142013019, District 35    360010133003029, District 15   360010135072010, District 22
360010142014025, District 36    360010133003017, District 15   360010135071000, District 22
360010142035017, District 38    360010133004001, District 15   360010135032016, District 19
360010142024001, District 33    360010133001001, District 16   360010135031011, District 19
360010142035022, District 38    360010133002001, District 16   360010135063015, District 20
360010141003010, District 34    360010133004000, District 15   360010145012011, District 33
360010142022016, District 34    360010133004012, District 15   360010145021001, District 38
360010136022021, District 14    360010133002004, District 16   360010145011066, District 38
360010136021073, District 14    360010132005003, District 15   360010145031015, District 33
360010136014031, District 21    360010133004018, District 15   360010145031014, District 33
360010137054019, District 25    360010133004017, District 15   360010145012002, District 33


Block Equivalency File                      April 13, 2015                                    Page 37
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 38 of 55

360010145012004, District 33    360010137031014, District 22   360010129002000, District 17
360010145031002, District 33    360010147001017, District 31   360010128001000, District 17
360010145012018, District 33    360010147001052, District 31   360010127003010, District 17
360010145023010, District 38    360010147001024, District 31   360010127002010, District 17
360010145021042, District 38    360010147001044, District 31   360010127001002, District 17
360010145021012, District 38    360010147002009, District 31   360010127001015, District 17
360010007003004, District 3     360010147001042, District 31   360010129001008, District 18
360010002001044, District 2     360010147001030, District 31   360010129001020, District 18
360010002001031, District 3     360010147001038, District 31   360010130002001, District 18
360010001001042, District 3     360010147001075, District 31   360010135033000, District 16
360010018024008, District 11    360010147002049, District 31   360010146111047, District 32
360010018024003, District 11    360010147002062, District 31   360010146142019, District 30
360010018021010, District 11    360010147002058, District 31   360010146151004, District 28
360010004034038, District 11    360010147002057, District 31   360010146143011, District 30
360010018023004, District 11    360010147002031, District 31   360010146111027, District 32
360010018023017, District 11    360010004034039, District 11   360010146063009, District 29
360010018024018, District 11    360010004011044, District 12   360010146131004, District 31
360010018022026, District 11    360010004034035, District 11   360010147002088, District 39
360010018021011, District 11    360010020005038, District 9    360010147002035, District 31
360010018022019, District 11    360010011001092, District 6    360010147002040, District 31
360010018014002, District 10    360010026003012, District 1    360010147002110, District 39
360010018012019, District 10    360010004011082, District 12   360010147002084, District 39
360010018015025, District 9     360010018022008, District 11   360010147001005, District 31
360010018014012, District 10    360010019012001, District 8    360010147002115, District 39
360010004034037, District 11    360010005022009, District 13   360010025001016, District 6
360010018012011, District 10    360010005014006, District 13   360010005014000, District 13
360010002004004, District 2     360010005013003, District 13   360010003004017, District 3
360010002003006, District 2     360010005013002, District 13   360010003004014, District 3
360010001001015, District 3     360010006003012, District 7    360010003004021, District 3
360010001001016, District 3     360010016003006, District 8    360010007001021, District 3
360010001002005, District 3     360010015004005, District 5    360010004033015, District 13
360010001001021, District 3     360010019011002, District 8    360010017001007, District 10
360010004011029, District 12    360010015002000, District 7    360010017002008, District 10
360010138015000, District 27    360010019011004, District 8    360010017002004, District 10
360010138017001, District 27    360010015001006, District 7    360010017001023, District 13
360010138021005, District 22    360010025001039, District 6    360010017001027, District 13
360010137031047, District 23    360010026004037, District 1    360010019013005, District 8
360010136015001, District 15    360010026004004, District 6    360010019022010, District 8
360010137072000, District 23    360010025001033, District 6    360010019013011, District 8
360010137072023, District 23    360010025001032, District 6    360010001001036, District 3
360010137053013, District 25    360010018015014, District 9    360010026001002, District 1
360010140011028, District 24    360010129002011, District 17   360010026002006, District 1
360010137031007, District 22    360010129001022, District 18   360010023001004, District 1


Block Equivalency File                      April 13, 2015                                    Page 38
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 39 of 55

360010026002008, District 1     360010148031154, District 39   360010146131046, District 31
360010026002000, District 6     360010148032042, District 39   360010148032064, District 39
360010026003022, District 1     360010148032037, District 39   360010148032007, District 39
360010026004026, District 1     360010148032008, District 39   360010148031041, District 39
360010011001121, District 6     360010026004003, District 1    360010148031039, District 39
360010026003017, District 1     360010011001019, District 6    360010148032009, District 39
360010025005001, District 6     360010011001008, District 6    360010148031068, District 39
360010025002007, District 6     360010142035001, District 35   360010148031008, District 39
360010143022020, District 38    360010143024057, District 38   360010146063039, District 29
360010143021034, District 36    360010143024016, District 38   360010147002076, District 31
360010143021036, District 36    360010143024082, District 36   360010147002113, District 39
360010143024036, District 36    360010143022000, District 36   360010147001059, District 31
360010144022047, District 37    360010143024076, District 36   360010147001060, District 31
360010144013056, District 37    360010143022036, District 36   360010147002103, District 39
360010144013000, District 37    360010143021042, District 36   360010147002080, District 39
360010144012018, District 37    360010141002011, District 9    360010147002117, District 39
360010144013032, District 37    360010143021012, District 36   360010147001072, District 39
360010144011052, District 37    360010143021041, District 36   360010147002086, District 39
360010144011055, District 37    360010144011075, District 37   360010147002083, District 39
360010146151027, District 28    360010144011077, District 37   360010147002120, District 39
360010146092011, District 32    360010144012043, District 37   360010147002001, District 31
360010146072001, District 28    360010144013053, District 37   360010016004006, District 8
360010146111035, District 32    360010146144003, District 30   360010016004010, District 8
360010146081011, District 32    360010146075029, District 12   360010019013001, District 8
360010146151028, District 28    360010146111018, District 31   360010019022004, District 9
360010146075033, District 12    360010146082022, District 30   360010025002003, District 6
360010146093022, District 32    360010146142002, District 30   360010011001098, District 5
360010146131017, District 31    360010146082014, District 30   360010025002005, District 6
360010146121002, District 31    360010146082007, District 30   360010018024007, District 11
360010146092008, District 32    360010146142016, District 30   360010003004005, District 3
360010146073001, District 28    360010146142011, District 30   360010019023006, District 9
360010146075041, District 12    360010146143005, District 30   360010002003003, District 2
360010146073003, District 28    360010146111003, District 32   360010002001020, District 3
360010146075032, District 12    360010146091002, District 30   360010002001014, District 3
360010146081017, District 30    360010146141002, District 32   360010003004024, District 4
360010146081013, District 32    360010146074024, District 29   360010011001093, District 6
360010146073011, District 28    360010146151034, District 32   360010026001008, District 1
360010148032071, District 39    360010146111041, District 32   360010011001107, District 6
360010148031082, District 39    360010146144015, District 30   360010004034046, District 11
360010148031003, District 39    360010146093014, District 32   360010011001110, District 6
360010148031054, District 39    360010146121025, District 31   360010004041020, District 12
360010148031045, District 39    360010146073019, District 28   360010016002007, District 7
360010148031007, District 39    360010146073025, District 28   360010018015023, District 9


Block Equivalency File                      April 13, 2015                                    Page 39
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 40 of 55

360010001001019, District 3     360010002001037, District 2    360010146111004, District 32
360010018023001, District 11    360010025001004, District 6    360010134003017, District 15
360010004041004, District 12    360010007001018, District 3    360010132001000, District 16
360010017004002, District 10    360010018014003, District 10   360010132004001, District 15
360010144012030, District 37    360010003003049, District 3    360010132005006, District 15
360010144013070, District 37    360010004011014, District 12   360010134003054, District 15
360010144012021, District 37    360010005022006, District 13   360010148032038, District 39
360010144022000, District 37    360010004011023, District 12   360010148032036, District 39
360010144022011, District 37    360010142034002, District 34   360010148031078, District 39
360010144012035, District 37    360010142034015, District 34   360010148031095, District 39
360010144022022, District 37    360010142034019, District 34   360010148031062, District 39
360010144012038, District 37    360010142034020, District 34   360010148031103, District 39
360010144012041, District 37    360010142033005, District 34   360010141001020, District 11
360010144012052, District 37    360010142032021, District 35   360010143012050, District 36
360010144022026, District 37    360010142033001, District 34   360010143022028, District 38
360010144012062, District 37    360010142032007, District 35   360010143011022, District 36
360010144013035, District 37    360010142014005, District 36   360010143023026, District 35
360010144013064, District 37    360010142011022, District 34   360010143022017, District 38
360010144012004, District 37    360010142011020, District 34   360010142024017, District 33
360010144013048, District 37    360010142011011, District 34   360010142035030, District 35
360010146151000, District 28    360010142032011, District 35   360010143022035, District 36
360010146074003, District 29    360010142031023, District 35   360010143024045, District 36
360010146063018, District 31    360010142012009, District 35   360010143012045, District 36
360010146133013, District 31    360010142012014, District 35   360010143024028, District 36
360010146131024, District 31    360010142012018, District 35   360010143022040, District 36
360010146121018, District 31    360010142035010, District 35   360010143011009, District 36
360010146131022, District 31    360010142032015, District 35   360010135071013, District 20
360010146131027, District 31    360010143023015, District 35   360010135063018, District 20
360010146072009, District 29    360010142014014, District 36   360010138021004, District 22
360010146063037, District 31    360010143022002, District 36   360010136021013, District 14
360010003001002, District 12    360010131001025, District 16   360010135051009, District 21
360010023002002, District 6     360010131001034, District 16   360010135051010, District 21
360010007001004, District 3     360010131001020, District 16   360010135062018, District 20
360010017003001, District 10    360010146081036, District 30   360010140022012, District 24
360010004032009, District 13    360010146132000, District 31   360010140024017, District 25
360010011001126, District 6     360010146111016, District 29   360010140023002, District 25
360010003003015, District 3     360010146144022, District 30   360010140022019, District 24
360010011001033, District 6     360010146132029, District 31   360010135083044, District 19
360010026004012, District 6     360010146063034, District 29   360010135063007, District 20
360010001001044, District 3     360010146131007, District 31   360010138014002, District 27
360010001001034, District 3     360010146151011, District 29   360010140024006, District 25
360010002001041, District 2     360010146081034, District 32   360010135033014, District 16
360010001001059, District 3     360010146111001, District 32   360010140013020, District 26


Block Equivalency File                      April 13, 2015                                    Page 40
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 41 of 55

360010135061004, District 16    360010148011090, District 39   360010006002005, District 4
360010135061044, District 16    360010137071021, District 21   360010006002003, District 4
360010136021070, District 14    360010137031018, District 22   360010006001004, District 4
360010138017002, District 27    360010135083001, District 19   360010018015005, District 10
360010138016011, District 27    360010137031118, District 22   360010003001030, District 12
360010138016010, District 27    360010137031092, District 22   360010008003002, District 4
360010138016019, District 27    360010135062008, District 20   360010007004002, District 4
360010145021036, District 38    360010135083039, District 19   360010008002000, District 2
360010145021037, District 38    360010136023002, District 14   360010014003001, District 5
360010145021033, District 38    360010136023009, District 14   360010021001004, District 5
360010145011063, District 38    360010135081019, District 19   360010008002006, District 2
360010145032029, District 33    360010137031097, District 22   360010014002001, District 2
360010145022069, District 38    360010137052016, District 24   360010137031027, District 22
360010145022024, District 38    360010135083065, District 19   360010136022016, District 14
360010145011041, District 38    360010135061027, District 20   360010138022001, District 22
360010145022020, District 38    360010139023032, District 26   360010140011001, District 24
360010145022029, District 38    360010135083076, District 21   360010136015004, District 15
360010145022038, District 38    360010147002068, District 31   360010136021024, District 14
360010004033014, District 13    360010147002038, District 31   360010135071017, District 20
360010018012015, District 10    360010145031009, District 33   360010137031100, District 22
360010018013010, District 10    360010145021003, District 38   360010136022025, District 14
360010017004005, District 10    360010145023004, District 38   360010136022015, District 14
360010018012017, District 10    360010145012012, District 33   360010135083073, District 21
360010018013007, District 10    360010145011051, District 38   360010135031008, District 19
360010019022000, District 8     360010145031005, District 33   360010135083052, District 20
360010017003013, District 8     360010145021028, District 38   360010136011022, District 14
360010003001046, District 11    360010145022053, District 38   360010137031107, District 23
360010004033000, District 11    360010018015015, District 9    360010147001067, District 39
360010004033005, District 11    360010020004009, District 9    360010147002033, District 31
360010004033004, District 11    360010020005011, District 9    360010147001023, District 31
360010002001032, District 3     360010020004001, District 8    360010147001015, District 31
360010011001000, District 3     360010020003004, District 1    360010147001050, District 31
360010001001005, District 3     360010020001000, District 8    360010147001018, District 31
360010011001049, District 6     360010020001005, District 8    360010147002016, District 31
360010011001036, District 6     360010020003003, District 1    360010147002012, District 31
360010025001037, District 6     360010020005044, District 1    360010147001051, District 31
360010003001040, District 11    360010003004025, District 4    360010147001043, District 31
360010003003024, District 3     360010003003012, District 3    360010004011075, District 12
360010003003007, District 3     360010003003043, District 3    360010016002004, District 10
360010002004003, District 2     360010003002001, District 4    360010016004000, District 8
360010002002006, District 6     360010007002004, District 4    360010016003003, District 8
360010004011037, District 12    360010007001011, District 3    360010019013012, District 8
360010148011005, District 31    360010007002003, District 4    360010019023003, District 9


Block Equivalency File                      April 13, 2015                                    Page 41
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 42 of 55

360010016003004, District 8     360010146143008, District 30   360010144012046, District 37
360010016003005, District 8     360010146151006, District 28   360010144013060, District 37
360010019023000, District 9     360010146141005, District 32   360010144011011, District 37
360010018014018, District 10    360010146141001, District 32   360010144011008, District 37
360010018022014, District 11    360010146075049, District 12   360010144013071, District 37
360010017004015, District 10    360010146144007, District 30   360010144022033, District 37
360010015004002, District 8     360010146141008, District 32   360010146131025, District 31
360010020002001, District 1     360010146132014, District 31   360010146151022, District 28
360010001002007, District 3     360010146144014, District 30   360010146073018, District 28
360010011001128, District 6     360010146092013, District 32   360010146074005, District 29
360010011001125, District 6     360010146093005, District 32   360010146074010, District 28
360010011001088, District 6     360010146151026, District 28   360010146074019, District 29
360010026004036, District 1     360010146075019, District 28   360010146111006, District 32
360010011001096, District 6     360010146072008, District 29   360010146093018, District 32
360010021002007, District 6     360010146144027, District 30   360010146131020, District 31
360010026001004, District 1     360010004011034, District 12   360010146143006, District 30
360010018023011, District 11    360010007001016, District 3    360010146133003, District 31
360010004041025, District 12    360010011001042, District 6    360010146062011, District 29
360010144011038, District 37    360010011001034, District 6    360010146062009, District 29
360010144011031, District 37    360010011001149, District 6    360010146062015, District 29
360010144021016, District 37    360010004034013, District 11   360010146073004, District 28
360010144011048, District 37    360010003004008, District 3    360010146063045, District 29
360010144012006, District 37    360010004011003, District 12   360010146063038, District 29
360010144012009, District 37    360010018015010, District 9    360010146131045, District 31
360010144011016, District 37    360010004034016, District 11   360010147001082, District 39
360010144011029, District 37    360010026004015, District 1    360010147001021, District 31
360010144022017, District 37    360010020005023, District 1    360010147002000, District 31
360010144022012, District 37    360010001001058, District 3    360010147001001, District 31
360010144013021, District 37    360010004041002, District 12   360010147002005, District 31
360010144022007, District 37    360010001001054, District 3    360010147002015, District 31
360010144011046, District 37    360010144011003, District 37   360010147001061, District 31
360010144012066, District 37    360010144013073, District 37   360010147001080, District 39
360010144022028, District 37    360010144013011, District 37   360010147002008, District 31
360010144011035, District 37    360010144012007, District 37   360010147001022, District 31
360010144012025, District 37    360010144012014, District 37   360010147001033, District 31
360010144012029, District 37    360010144022010, District 37   360010147002003, District 31
360010146111037, District 32    360010144012001, District 37   360010147001073, District 31
360010146082009, District 30    360010144011053, District 37   360010011001135, District 6
360010146093017, District 32    360010144011054, District 37   360010018013020, District 10
360010146082003, District 30    360010144013059, District 37   360010021002000, District 5
360010146142006, District 30    360010144022050, District 37   360010011001030, District 6
360010146142014, District 30    360010144011010, District 37   360010023002006, District 6
360010146082008, District 30    360010144022009, District 37   360010004032008, District 13


Block Equivalency File                      April 13, 2015                                    Page 42
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 43 of 55

360010003003047, District 3     360010146063028, District 31   360010143024023, District 38
360010017001008, District 10    360010146075018, District 28   360010143022018, District 38
360010011001119, District 6     360010146073035, District 28   360010143024030, District 38
360010004034009, District 11    360010146063048, District 29   360010143024048, District 36
360010004034018, District 11    360010146133020, District 31   360010143024001, District 38
360010026004014, District 1     360010146131047, District 31   360010143021023, District 36
360010018015026, District 9     360010146131051, District 31   360010143024047, District 36
360010019022014, District 9     360010146132052, District 31   360010143024088, District 36
360010004031010, District 13    360010146131050, District 31   360010143022015, District 36
360010005014004, District 13    360010146132038, District 31   360010143021010, District 36
360010005022013, District 13    360010146063036, District 31   360010143021035, District 36
360010005012003, District 4     360010146063014, District 29   360010143023017, District 35
360010005012005, District 13    360010146073008, District 28   360010146081015, District 30
360010005013000, District 13    360010146075015, District 28   360010146063002, District 29
360010005011003, District 4     360010146074014, District 29   360010146074007, District 29
360010016001001, District 7     360010146063047, District 29   360010146132035, District 31
360010015001002, District 7     360010146131030, District 31   360010146144020, District 30
360010016002006, District 7     360010004041018, District 12   360010146072002, District 28
360010015002003, District 5     360010004041010, District 12   360010146131055, District 31
360010127001009, District 17    360010004011042, District 12   360010146121005, District 31
360010127002017, District 17    360010004011031, District 12   360010146112008, District 29
360010129001016, District 18    360010003001053, District 11   360010146073037, District 28
360010130005019, District 18    360010026004032, District 1    360010146132041, District 31
360010130001019, District 18    360010003001007, District 12   360010146074000, District 29
360010130005001, District 18    360010004011021, District 12   360010146131008, District 31
360010129001002, District 18    360010011001131, District 6    360010146141000, District 32
360010130001012, District 18    360010020005012, District 9    360010146082019, District 30
360010130002005, District 18    360010004032002, District 13   360010146144024, District 30
360010130005000, District 18    360010003004019, District 3    360010146082002, District 30
360010129004003, District 18    360010007001008, District 3    360010146143007, District 30
360010129004008, District 18    360010007001013, District 3    360010146091001, District 30
360010129003004, District 18    360010005022004, District 13   360010146081008, District 32
360010130005022, District 18    360010005022007, District 13   360010146151036, District 32
360010130004011, District 16    360010016004008, District 8    360010146151035, District 32
360010128002005, District 17    360010019013009, District 8    360010146111040, District 32
360010128004004, District 17    360010019022005, District 8    360010148031128, District 39
360010128003014, District 17    360010001001057, District 3    360010148031118, District 39
360010128002003, District 17    360010026001011, District 1    360010148031149, District 39
360010128001009, District 17    360010026002007, District 1    360010148031097, District 39
360010128002001, District 17    360010026002005, District 1    360010148031086, District 39
360010128001017, District 17    360010143012024, District 36   360010148031124, District 39
360010146132028, District 31    360010143012025, District 36   360010148031061, District 39
360010146132006, District 31    360010141004006, District 9    360010148031088, District 39


Block Equivalency File                      April 13, 2015                                    Page 43
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 44 of 55

360010143011007, District 36    360010148022027, District 39   360010145012016, District 33
360010143011000, District 36    360010148021051, District 39   360010145012007, District 33
360010143012071, District 36    360010148021068, District 39   360010145023036, District 38
360010143012064, District 36    360010148022002, District 39   360010145011004, District 33
360010142032002, District 34    360010148021053, District 39   360010145012024, District 33
360010142031025, District 35    360010148011071, District 31   360010145022072, District 38
360010143024097, District 38    360010148011104, District 39   360010145011057, District 38
360010143012062, District 36    360010148011044, District 39   360010021001007, District 5
360010142014030, District 36    360010148012010, District 39   360010022001007, District 5
360010142014031, District 36    360010148012037, District 39   360010014001005, District 5
360010142013017, District 35    360010148012044, District 39   360010022002001, District 5
360010143021032, District 36    360010148012085, District 39   360010022002006, District 6
360010143021014, District 36    360010148012013, District 39   360010002003000, District 2
360010141002028, District 9     360010148012030, District 39   360010003003021, District 3
360010143012033, District 36    360010137031069, District 22   360010002001029, District 3
360010138015019, District 27    360010137071014, District 23   360010002001040, District 2
360010138015013, District 27    360010137031081, District 22   360010002003009, District 6
360010139022003, District 26    360010135063004, District 20   360010011001065, District 2
360010135083060, District 19    360010139023031, District 26   360010002001008, District 3
360010138023003, District 22    360010135032025, District 19   360010002001017, District 3
360010137031091, District 22    360010136022003, District 14   360010004034005, District 11
360010137071026, District 23    360010137031006, District 22   360010018024000, District 11
360010138014000, District 27    360010137053016, District 25   360010018023008, District 11
360010138023010, District 27    360010136022000, District 14   360010018023013, District 11
360010138023009, District 27    360010136014020, District 14   360010003001052, District 11
360010138011000, District 27    360010136021019, District 14   360010018023000, District 11
360010138014001, District 27    360010137061019, District 25   360010018021012, District 11
360010135072008, District 22    360010140023007, District 25   360010018014001, District 10
360010138014003, District 27    360010137061037, District 25   360010018014019, District 10
360010138011006, District 27    360010135061058, District 16   360010018021006, District 11
360010138013006, District 27    360010140011024, District 24   360010018012010, District 10
360010138013009, District 27    360010137031134, District 23   360010011001066, District 2
360010138011010, District 27    360010137052013, District 24   360010002003004, District 2
360010145021034, District 38    360010135061040, District 16   360010002004006, District 2
360010145011101, District 33    360010135052025, District 21   360010137031132, District 23
360010145012017, District 33    360010135083054, District 19   360010137031108, District 23
360010145031030, District 33    360010145023005, District 38   360010137071015, District 23
360010148021074, District 39    360010145032023, District 33   360010137031064, District 22
360010148021009, District 39    360010145032010, District 33   360010136023016, District 14
360010148021056, District 39    360010145032009, District 33   360010137031019, District 22
360010148021020, District 39    360010145011104, District 38   360010136012013, District 14
360010148021039, District 39    360010145011105, District 38   360010135033005, District 20
360010148022004, District 39    360010145023008, District 38   360010135083008, District 19


Block Equivalency File                      April 13, 2015                                    Page 44
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 45 of 55

360010135061037, District 20    360010144013057, District 37   360010017001015, District 10
360010137031086, District 22    360010144013067, District 37   360010004034055, District 11
360010140011009, District 24    360010144011065, District 37   360010014003023, District 5
360010135061041, District 16    360010144011045, District 37   360010004034020, District 11
360010136021048, District 14    360010144011068, District 37   360010004011061, District 12
360010147002014, District 31    360010144011069, District 37   360010004011041, District 12
360010147002024, District 31    360010144021013, District 37   360010004011015, District 12
360010147002046, District 31    360010144022048, District 37   360010003001024, District 11
360010147002063, District 31    360010144021002, District 37   360010007001009, District 3
360010147002091, District 39    360010144011059, District 37   360010144022019, District 37
360010147002061, District 31    360010144021009, District 37   360010144022041, District 37
360010147001002, District 31    360010144013007, District 37   360010144011044, District 37
360010145011028, District 38    360010144013036, District 37   360010144011063, District 37
360010145011103, District 38    360010144013016, District 37   360010144011043, District 37
360010145032028, District 33    360010144013023, District 37   360010144012049, District 37
360010145032032, District 33    360010146151020, District 28   360010144022040, District 37
360010145011011, District 33    360010146121024, District 31   360010144012048, District 37
360010145021023, District 38    360010146075020, District 28   360010144022054, District 37
360010018015008, District 9     360010146073022, District 28   360010144022001, District 37
360010018015027, District 9     360010146075031, District 12   360010144011079, District 37
360010011001147, District 6     360010146131026, District 31   360010144013006, District 37
360010004011033, District 12    360010146131014, District 31   360010144013004, District 37
360010007001017, District 3     360010146073009, District 28   360010144013051, District 37
360010019022011, District 8     360010146112026, District 29   360010144013046, District 37
360010018022036, District 10    360010146121001, District 31   360010128004001, District 17
360010011001138, District 6     360010146063026, District 29   360010128001024, District 17
360010011001074, District 5     360010146133028, District 31   360010129002005, District 17
360010020005027, District 1     360010146121013, District 31   360010130002017, District 18
360010003001048, District 11    360010146133030, District 31   360010146132055, District 31
360010004034031, District 11    360010146132056, District 31   360010146121007, District 31
360010004041017, District 12    360010146063025, District 31   360010146074016, District 29
360010001001046, District 3     360010146132005, District 31   360010146121016, District 31
360010002001025, District 3     360010146133011, District 31   360010146151029, District 28
360010020005039, District 9     360010014003016, District 5    360010146073010, District 28
360010011001111, District 6     360010025001014, District 6    360010146073012, District 28
360010011001143, District 6     360010004041006, District 12   360010146131032, District 31
360010017004003, District 10    360010011001044, District 6    360010146092031, District 32
360010011001031, District 6     360010004011070, District 12   360010146092017, District 32
360010018021008, District 11    360010003004004, District 3    360010146092015, District 32
360010011001087, District 6     360010003004003, District 3    360010146092018, District 32
360010004011064, District 12    360010020005036, District 9    360010146092029, District 32
360010144013022, District 37    360010004041021, District 12   360010146092019, District 32
360010144012032, District 37    360010002001033, District 3    360010146133017, District 31


Block Equivalency File                      April 13, 2015                                    Page 45
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 46 of 55

360010146072023, District 29    360010127002006, District 17   360010025005004, District 1
360010146111022, District 32    360010127002022, District 17   360010025005003, District 1
360010147002073, District 31    360010128002006, District 17   360010025002006, District 6
360010147002006, District 31    360010127003016, District 17   360010011001140, District 6
360010147002075, District 31    360010130002019, District 18   360010018014016, District 10
360010147002019, District 31    360010130001013, District 18   360010016004007, District 8
360010147002051, District 31    360010130005007, District 18   360010019013002, District 8
360010147002048, District 31    360010138017018, District 27   360010016003001, District 10
360010147002054, District 31    360010136012016, District 14   360010003003008, District 3
360010147002055, District 31    360010140013011, District 26   360010004033012, District 11
360010147002085, District 39    360010136021015, District 14   360010011001102, District 6
360010145032006, District 33    360010136021022, District 14   360010025002013, District 6
360010145031010, District 33    360010136022010, District 14   360010004011043, District 12
360010025001027, District 6     360010135061049, District 16   360010001001012, District 3
360010025003000, District 6     360010135031009, District 19   360010001001043, District 3
360010017004013, District 10    360010136014004, District 21   360010026003010, District 1
360010026004025, District 1     360010136011037, District 14   360010020003007, District 1
360010026004000, District 1     360010135083017, District 19   360010144013068, District 37
360010011001123, District 6     360010146081005, District 32   360010144012013, District 37
360010011001130, District 6     360010146092027, District 32   360010144013045, District 37
360010011001076, District 2     360010146081030, District 32   360010144013025, District 37
360010019023008, District 9     360010146092023, District 32   360010144013015, District 37
360010019021003, District 9     360010146111008, District 32   360010144011050, District 37
360010019021002, District 9     360010146111032, District 32   360010144012015, District 37
360010020005009, District 9     360010146133007, District 31   360010144011013, District 37
360010020005000, District 9     360010146093019, District 32   360010144011017, District 37
360010020002003, District 1     360010146071004, District 28   360010144011025, District 37
360010020003001, District 1     360010146071002, District 28   360010146111049, District 32
360010026003008, District 1     360010146071009, District 28   360010146081014, District 32
360010020003006, District 1     360010146111046, District 32   360010146111014, District 29
360010014003007, District 2     360010146143015, District 30   360010146081031, District 32
360010020005032, District 1     360010146132015, District 31   360010146151021, District 28
360010003003039, District 3     360010146075044, District 12   360010146132026, District 31
360010003003041, District 3     360010146075058, District 12   360010146073026, District 28
360010006003005, District 4     360010146063019, District 31   360010146073032, District 28
360010006003007, District 4     360010020005018, District 1    360010146131033, District 31
360010006001003, District 4     360010026004041, District 1    360010146131041, District 31
360010007002005, District 4     360010026004008, District 1    360010146132010, District 31
360010008002004, District 2     360010026004029, District 1    360010146081019, District 30
360010130002014, District 18    360010026004024, District 1    360010146062001, District 29
360010128004010, District 17    360010023001001, District 6    360010146074009, District 29
360010127001003, District 17    360010011001141, District 6    360010146093015, District 32
360010127001025, District 17    360010023002012, District 6    360010146073024, District 28


Block Equivalency File                      April 13, 2015                                    Page 46
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 47 of 55

360010146121028, District 31    360010135061031, District 20   360010137031133, District 23
360010146131036, District 31    360010136011009, District 15   360010137051006, District 24
360010146133012, District 31    360010136011011, District 15   360010138017023, District 26
360010146063015, District 29    360010137071007, District 23   360010137031042, District 22
360010148031113, District 39    360010137071010, District 23   360010139021001, District 23
360010148031157, District 39    360010135061013, District 16   360010139021002, District 23
360010148032035, District 39    360010137051005, District 24   360010137031035, District 23
360010148032052, District 39    360010137071002, District 23   360010137031032, District 23
360010148032051, District 39    360010135051020, District 21   360010139011018, District 26
360010148032077, District 39    360010136013006, District 21   360010139023006, District 26
360010148031144, District 39    360010137061031, District 25   360010139011001, District 26
360010148032053, District 39    360010137053031, District 25   360010137031051, District 22
360010148031132, District 39    360010137061036, District 25   360010137031068, District 22
360010148031057, District 39    360010137053023, District 25   360010135082015, District 19
360010148032045, District 39    360010148022021, District 39   360010135082007, District 19
360010143024003, District 38    360010148021065, District 39   360010135082023, District 19
360010143024012, District 38    360010148023082, District 39   360010145022018, District 38
360010142032025, District 35    360010148023070, District 39   360010145023006, District 38
360010141004021, District 9     360010148021046, District 39   360010145023040, District 38
360010143024010, District 38    360010148021001, District 39   360010145011082, District 38
360010143021038, District 36    360010148023093, District 39   360010145022005, District 38
360010142011018, District 34    360010148022023, District 39   360010145031004, District 33
360010143024044, District 36    360010148022042, District 39   360010145022076, District 38
360010143012038, District 36    360010148022007, District 39   360010145022071, District 38
360010142024012, District 33    360010148022043, District 39   360010145022013, District 38
360010142034012, District 34    360010148022041, District 39   360010145022040, District 38
360010141002024, District 9     360010148023004, District 39   360010145021031, District 38
360010142023037, District 33    360010148012069, District 39   360010145021043, District 38
360010141002021, District 9     360010148011091, District 39   360010145021044, District 38
360010141001007, District 11    360010148011172, District 39   360010145031025, District 33
360010138014004, District 27    360010148011072, District 39   360010002003008, District 6
360010138013005, District 27    360010148011112, District 31   360010011001077, District 6
360010138013001, District 27    360010148011088, District 39   360010002004008, District 6
360010138013003, District 27    360010148011103, District 39   360010011001082, District 6
360010138012016, District 27    360010148012051, District 39   360010001001029, District 3
360010138012028, District 27    360010148012086, District 39   360010001001018, District 3
360010139021011, District 26    360010148012036, District 39   360010004011001, District 12
360010138012026, District 23    360010137031008, District 22   360010004011019, District 12
360010139021014, District 23    360010138021007, District 22   360010004034052, District 11
360010137031096, District 22    360010138021012, District 22   360010018013013, District 10
360010140024002, District 25    360010140022006, District 24   360010003001047, District 11
360010140023016, District 25    360010135061001, District 16   360010004031007, District 13
360010138017005, District 27    360010140022004, District 24   360010011001108, District 6


Block Equivalency File                      April 13, 2015                                    Page 47
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 48 of 55

360010011001057, District 6     360010004011066, District 12   360010130001002, District 18
360010011001006, District 6     360010004041007, District 12   360010130001017, District 18
360010011001005, District 3     360010018014020, District 10   360010130005020, District 18
360010011001022, District 6     360010019012004, District 8    360010129004001, District 18
360010011001025, District 6     360010004031009, District 13   360010129001011, District 18
360010004011030, District 12    360010005013004, District 13   360010130004014, District 16
360010002001047, District 6     360010005012002, District 13   360010130003006, District 17
360010018022029, District 10    360010016002005, District 7    360010146132008, District 31
360010018022032, District 10    360010005011005, District 7    360010146132003, District 31
360010003003018, District 3     360010006003011, District 7    360010146132045, District 31
360010003003019, District 3     360010015003003, District 5    360010146074015, District 29
360010021002006, District 6     360010019011003, District 8    360010146074020, District 29
360010136022023, District 14    360010015004007, District 8    360010146121027, District 31
360010137054008, District 25    360010015002005, District 7    360010146111039, District 32
360010137031005, District 22    360010025001030, District 6    360010146075026, District 12
360010135061053, District 16    360010025003007, District 6    360010146072019, District 29
360010137053007, District 25    360010026004034, District 1    360010146131034, District 31
360010136013002, District 21    360010018015020, District 9    360010146131058, District 31
360010137031111, District 23    360010019023001, District 9    360010146131053, District 31
360010136023020, District 14    360010019021004, District 8    360010146133031, District 31
360010139023018, District 26    360010020005003, District 9    360010146133022, District 31
360010137054011, District 25    360010020001004, District 8    360010146075052, District 28
360010136023006, District 14    360010020004008, District 9    360010146075009, District 28
360010137052006, District 24    360010020005014, District 9    360010146121009, District 31
360010140011023, District 24    360010020003005, District 1    360010146082015, District 30
360010137053030, District 25    360010023002004, District 6    360010146093004, District 30
360010135061034, District 20    360010003003020, District 3    360010004011011, District 12
360010137071019, District 23    360010144013001, District 37   360010025002011, District 6
360010136021055, District 14    360010144022023, District 37   360010020005005, District 9
360010135063002, District 20    360010144012039, District 37   360010004034006, District 11
360010137031028, District 22    360010144022052, District 37   360010003003035, District 3
360010137031049, District 22    360010144011036, District 37   360010003001057, District 3
360010145011080, District 38    360010128001003, District 17   360010008002003, District 2
360010145022012, District 38    360010129002010, District 18   360010017001022, District 10
360010145022056, District 38    360010128001018, District 17   360010011001029, District 6
360010145012009, District 33    360010127001004, District 17   360010004031000, District 13
360010145021013, District 38    360010128001005, District 17   360010004031012, District 13
360010145021006, District 38    360010127001024, District 17   360010003004020, District 3
360010145012020, District 33    360010127002026, District 17   360010003003037, District 3
360010145022027, District 38    360010129001006, District 18   360010003003028, District 3
360010145011010, District 33    360010130005006, District 18   360010017002005, District 10
360010145011022, District 33    360010130005015, District 18   360010005021002, District 13
360010145022016, District 38    360010130005011, District 18   360010016001006, District 7


Block Equivalency File                      April 13, 2015                                    Page 48
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 49 of 55

360010019013007, District 8     360010147002112, District 39   360010135072001, District 22
360010001001032, District 3     360010147002118, District 39   360010140013002, District 26
360010129002007, District 17    360010147001065, District 31   360010135032028, District 19
360010129002001, District 17    360010145031008, District 33   360010138021020, District 22
360010127003005, District 17    360010145011038, District 38   360010137053041, District 25
360010127003006, District 17    360010145011074, District 38   360010137031059, District 22
360010128001011, District 17    360010145022073, District 38   360010136014035, District 21
360010128001012, District 17    360010145021008, District 38   360010136011014, District 15
360010130001018, District 18    360010145021020, District 38   360010135083077, District 20
360010130004015, District 16    360010145022055, District 38   360010137031055, District 22
360010129001009, District 18    360010145022002, District 38   360010137053037, District 25
360010130003001, District 18    360010145023024, District 38   360010136021039, District 14
360010129001013, District 18    360010008002008, District 2    360010135061043, District 16
360010129004009, District 18    360010014002000, District 2    360010137031078, District 22
360010129001001, District 18    360010008001006, District 2    360010138022008, District 22
360010129003001, District 18    360010014001001, District 2    360010140011004, District 24
360010128004012, District 18    360010022001005, District 5    360010146063033, District 29
360010130003005, District 17    360010007003009, District 2    360010146143001, District 30
360010128004016, District 17    360010002001006, District 3    360010147001074, District 31
360010128004000, District 17    360010018024005, District 11   360010147002036, District 31
360010128004005, District 17    360010018024012, District 11   360010147001003, District 31
360010128004006, District 17    360010018021007, District 11   360010147001014, District 31
360010128003002, District 17    360010018022021, District 10   360010147001057, District 31
360010129002013, District 17    360010018022020, District 10   360010147001058, District 31
360010129002014, District 17    360010019023009, District 9    360010147002095, District 39
360010128004007, District 17    360010018021002, District 11   360010147001069, District 39
360010130005013, District 18    360010018012013, District 10   360010147002116, District 39
360010128001027, District 17    360010018012004, District 11   360010147001063, District 39
360010130005016, District 18    360010014001010, District 2    360010147001071, District 31
360010146075055, District 28    360010023002000, District 5    360010003001010, District 3
360010146072012, District 29    360010002004007, District 2    360010018011002, District 10
360010146075007, District 28    360010011001151, District 2    360010007001019, District 3
360010146112025, District 29    360010002003007, District 6    360010017003011, District 8
360010146082021, District 30    360010011001070, District 2    360010005022001, District 13
360010146075035, District 12    360010011001069, District 6    360010004041022, District 12
360010146075040, District 12    360010011001150, District 2    360010020005016, District 1
360010146093008, District 32    360010011001061, District 6    360010004034028, District 12
360010146133014, District 31    360010011001068, District 6    360010018022023, District 10
360010147002043, District 31    360010001001010, District 3    360010018013019, District 8
360010147001010, District 31    360010138016026, District 27   360010003003048, District 3
360010147002104, District 39    360010136011016, District 15   360010001001052, District 3
360010147001084, District 31    360010139023010, District 23   360010018022004, District 11
360010147002114, District 39    360010135052022, District 21   360010004011074, District 12


Block Equivalency File                      April 13, 2015                                    Page 49
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 50 of 55

360010004032006, District 13    360010146112004, District 29   360010136021020, District 14
360010005021001, District 13    360010146132034, District 31   360010136021011, District 14
360010004011073, District 12    360010146132043, District 31   360010136021021, District 14
360010001001051, District 3     360010146132040, District 31   360010136013014, District 21
360010002001024, District 3     360010148032065, District 39   360010136013012, District 21
360010018022025, District 10    360010148032068, District 39   360010137072020, District 23
360010018015017, District 9     360010148032001, District 39   360010137053010, District 25
360010005014003, District 13    360010148031033, District 39   360010137061004, District 25
360010005022016, District 13    360010148032004, District 39   360010137061008, District 25
360010005022014, District 13    360010026004035, District 36   360010135062007, District 20
360010005013005, District 13    360010025001009, District 6    360010135052020, District 21
360010006003003, District 4     360010003003023, District 3    360010135062001, District 20
360010005021004, District 7     360010003004001, District 3    360010135052033, District 21
360010144011005, District 37    360010011001155, District 6    360010136022020, District 14
360010144011080, District 37    360010011001056, District 6    360010136012018, District 14
360010144011034, District 37    360010004041016, District 12   360010136021029, District 14
360010144011039, District 37    360010014003002, District 5    360010136021062, District 14
360010144021007, District 37    360010004011045, District 12   360010136021063, District 14
360010144011002, District 37    360010004034029, District 12   360010136021037, District 14
360010144012022, District 37    360010025001011, District 6    360010136022024, District 14
360010144013054, District 37    360010141002012, District 9    360010148023016, District 39
360010144012028, District 37    360010141001004, District 11   360010148023102, District 39
360010144013038, District 37    360010141002025, District 9    360010148023083, District 39
360010144013055, District 37    360010141002027, District 9    360010148023006, District 39
360010144011042, District 37    360010142023001, District 33   360010148023009, District 39
360010146063013, District 29    360010142023027, District 33   360010148023073, District 39
360010146073007, District 28    360010141003024, District 33   360010148023105, District 39
360010146073005, District 28    360010141003003, District 34   360010148022008, District 39
360010146063004, District 29    360010142031002, District 34   360010148023021, District 39
360010146061007, District 29    360010142023018, District 33   360010148023107, District 39
360010146133029, District 31    360010142024002, District 33   360010148023030, District 39
360010146063005, District 29    360010142035027, District 38   360010148023023, District 39
360010146075012, District 28    360010142022007, District 34   360010148011170, District 39
360010146063011, District 29    360010142022009, District 34   360010148011052, District 39
360010146073036, District 28    360010142022014, District 34   360010148011003, District 31
360010146075016, District 28    360010142034013, District 34   360010148011034, District 39
360010146133027, District 31    360010142031014, District 35   360010148011061, District 31
360010146092016, District 32    360010142032005, District 35   360010148011029, District 39
360010146092020, District 32    360010142011021, District 34   360010148011011, District 31
360010146092022, District 32    360010142011004, District 34   360010148011077, District 31
360010146133008, District 31    360010142012003, District 35   360010135082002, District 19
360010146133018, District 31    360010142013007, District 35   360010137031090, District 22
360010146112013, District 29    360010136011025, District 14   360010139011009, District 26


Block Equivalency File                      April 13, 2015                                    Page 50
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 51 of 55

360010139023017, District 26    360010137031038, District 22   360010014003006, District 2
360010140013022, District 26    360010139021005, District 23   360010008001004, District 2
360010140013008, District 26    360010139012009, District 26   360010008001008, District 2
360010140013031, District 26    360010139022009, District 26   360010014003014, District 5
360010137031098, District 22    360010139012012, District 26   360010014002005, District 5
360010137031101, District 22    360010139011002, District 26   360010021001006, District 5
360010140022018, District 24    360010139011014, District 26   360010022002005, District 5
360010140022002, District 24    360010135082005, District 19   360010002001028, District 3
360010135063001, District 20    360010135082012, District 19   360010018024015, District 11
360010135071018, District 22    360010135072006, District 22   360010018024004, District 11
360010137031061, District 22    360010135072005, District 22   360010018024002, District 11
360010135083034, District 19    360010135082013, District 19   360010003001004, District 12
360010135063006, District 20    360010135082034, District 19   360010004034059, District 12
360010135051005, District 20    360010139011008, District 26   360010004034021, District 11
360010135061023, District 20    360010139023034, District 26   360010130003014, District 17
360010135032024, District 19    360010145011075, District 38   360010130003013, District 17
360010135062020, District 20    360010145011001, District 33   360010128004003, District 17
360010135033003, District 20    360010145011026, District 38   360010129002012, District 17
360010135071004, District 22    360010145023014, District 38   360010128003007, District 17
360010140011000, District 24    360010145023001, District 38   360010128003015, District 17
360010145011029, District 38    360010145012019, District 33   360010128001007, District 17
360010145011020, District 33    360010145023022, District 38   360010128001020, District 16
360010145023044, District 38    360010145012015, District 33   360010130002009, District 18
360010145022030, District 38    360010145011040, District 38   360010130001009, District 18
360010148023050, District 39    360010145023051, District 38   360010130002022, District 18
360010148021075, District 39    360010145011021, District 33   360010130005005, District 18
360010148023109, District 39    360010145023003, District 38   360010127001021, District 17
360010148021037, District 39    360010145021035, District 38   360010127002015, District 17
360010148021069, District 39    360010145023009, District 38   360010127002025, District 17
360010148021076, District 39    360010145023026, District 38   360010127001005, District 17
360010148021079, District 39    360010003003006, District 3    360010127001007, District 17
360010148021008, District 39    360010003002003, District 4    360010136014026, District 14
360010148023043, District 39    360010007001012, District 3    360010136012015, District 14
360010148012041, District 39    360010007001020, District 3    360010136012019, District 14
360010148012012, District 39    360010006003004, District 4    360010146132042, District 31
360010148012020, District 39    360010006002000, District 4    360010146061006, District 29
360010148012087, District 39    360010003001006, District 12   360010146132037, District 31
360010148011051, District 39    360010003001029, District 12   360010146111023, District 32
360010148012007, District 39    360010008003001, District 4    360010146111012, District 32
360010148012046, District 39    360010007004003, District 4    360010146072016, District 29
360010138021000, District 22    360010007003006, District 4    360010146151024, District 28
360010138021021, District 22    360010008002005, District 2    360010146071008, District 28
360010135061026, District 16    360010021002008, District 8    360010146071010, District 28


Block Equivalency File                      April 13, 2015                                    Page 51
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 52 of 55

360010146075047, District 12    360010135031016, District 19   360010001001024, District 3
360010147002070, District 31    360010147001068, District 39   360010001001025, District 3
360010147001013, District 31    360010147002027, District 31   360010018022034, District 10
360010147002121, District 31    360010147001027, District 31   360010018022031, District 10
360010147001062, District 31    360010147001026, District 31   360010003003033, District 3
360010147002094, District 39    360010147002101, District 39   360010018024009, District 11
360010147001055, District 31    360010147001053, District 31   360010016001003, District 7
360010026004028, District 1     360010147001066, District 31   360010136014003, District 21
360010026001010, District 1     360010147001036, District 31   360010136015008, District 15
360010026002002, District 1     360010147002013, District 31   360010137031085, District 22
360010023002001, District 6     360010147002074, District 39   360010137054005, District 25
360010026003020, District 1     360010147002077, District 31   360010137054009, District 25
360010025004001, District 1     360010147002050, District 31   360010140023014, District 25
360010026003014, District 1     360010145023012, District 38   360010135052024, District 21
360010025003017, District 6     360010145021014, District 38   360010137061006, District 25
360010011001095, District 6     360010145032033, District 33   360010137053020, District 25
360010018015012, District 9     360010145032000, District 33   360010137053027, District 25
360010019023002, District 9     360010145011012, District 33   360010140012003, District 26
360010019022012, District 9     360010145023034, District 38   360010137073000, District 23
360010016002003, District 10    360010145011054, District 38   360010137052004, District 24
360010016004004, District 8     360010145023029, District 38   360010136023010, District 14
360010016004003, District 8     360010145023030, District 38   360010137061017, District 25
360010019022013, District 9     360010145012013, District 33   360010137072007, District 23
360010019012003, District 8     360010145023042, District 38   360010137053024, District 25
360010007001022, District 3     360010145023049, District 38   360010138021022, District 22
360010003001001, District 3     360010145021041, District 38   360010138023014, District 22
360010018022015, District 11    360010018013004, District 10   360010138017009, District 27
360010003001018, District 11    360010004011010, District 12   360010139023008, District 23
360010020005021, District 1     360010018012003, District 11   360010147001083, District 39
360010020001002, District 8     360010018013015, District 10   360010147001079, District 39
360010130005017, District 18    360010018013018, District 10   360010147001076, District 31
360010130004009, District 16    360010018013014, District 10   360010147001016, District 31
360010127001006, District 17    360010004034040, District 11   360010147001012, District 31
360010127002004, District 17    360010003001049, District 11   360010147002007, District 31
360010127003018, District 17    360010004034042, District 11   360010147002037, District 31
360010127002012, District 17    360010004034044, District 11   360010147001077, District 31
360010137052003, District 24    360010004032003, District 13   360010147001047, District 31
360010136014000, District 21    360010001001027, District 3    360010006003013, District 7
360010135081013, District 19    360010001001039, District 3    360010005011002, District 7
360010135032027, District 19    360010011001002, District 3    360010006003010, District 7
360010137031072, District 22    360010002002007, District 6    360010016003002, District 7
360010138023012, District 22    360010011001122, District 6    360010015004001, District 8
360010137053038, District 25    360010011001109, District 6    360010015002002, District 7


Block Equivalency File                      April 13, 2015                                    Page 52
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 53 of 55

360010021003000, District 5     360010146071012, District 28   360010143024065, District 36
360010025001026, District 6     360010146071013, District 28   360010143024073, District 36
360010025001035, District 6     360010146082005, District 30   360010143012010, District 36
360010025001023, District 6     360010146093025, District 30   360010141002006, District 9
360010025001038, District 6     360010146111025, District 32   360010141003005, District 34
360010004034032, District 11    360010146075043, District 12   360010143024034, District 36
360010004034012, District 11    360010146075048, District 12   360010144012042, District 37
360010019023007, District 9     360010146074004, District 29   360010136021066, District 14
360010019021005, District 8     360010146121021, District 31   360010136023005, District 14
360010019021006, District 8     360010146061002, District 29   360010136021065, District 14
360010020004000, District 8     360010147002034, District 31   360010136022005, District 14
360010020002005, District 1     360010011001148, District 6    360010135083040, District 19
360010020003002, District 1     360010020005040, District 1    360010136023015, District 14
360010020002006, District 1     360010004011009, District 12   360010137031001, District 22
360010020003008, District 1     360010018023020, District 11   360010135032002, District 18
360010004041023, District 12    360010020005030, District 1    360010136022012, District 14
360010020005022, District 9     360010004034027, District 11   360010136023003, District 14
360010003003005, District 3     360010011001037, District 6    360010136021068, District 14
360010003003026, District 3     360010004011069, District 12   360010136023023, District 14
360010007002000, District 4     360010011001136, District 6    360010136021028, District 14
360010007001023, District 3     360010011001154, District 6    360010140013021, District 26
360010144011060, District 37    360010003004016, District 3    360010137073018, District 23
360010144011061, District 37    360010014003011, District 5    360010137031044, District 23
360010144011032, District 37    360010003001021, District 11   360010131003019, District 16
360010144022034, District 37    360010003003045, District 3    360010131003014, District 16
360010144022015, District 37    360010003003042, District 3    360010131001006, District 16
360010144022042, District 37    360010020005029, District 1    360010131001012, District 16
360010144022038, District 37    360010018012005, District 11   360010131003015, District 16
360010144022051, District 37    360010017003014, District 8    360010131003016, District 16
360010144021015, District 37    360010004041026, District 12   360010148023040, District 39
360010144022014, District 37    360010011001012, District 6    360010148021023, District 39
360010144021003, District 37    360010004011065, District 12   360010134003047, District 15
360010144013012, District 37    360010003001058, District 3    360010132002008, District 16
360010144013028, District 37    360010143023024, District 35   360010134003003, District 15
360010144013029, District 37    360010142032008, District 35   360010134003031, District 15
360010144013002, District 37    360010142035036, District 35   360010132001025, District 15
360010144012011, District 37    360010143012061, District 36   360010132005012, District 15
360010144012050, District 37    360010142032027, District 35   360010134003035, District 15
360010144022045, District 37    360010141004014, District 33   360010133003000, District 16
360010146151032, District 32    360010143023014, District 35   360010133001005, District 16
360010146093023, District 32    360010142023021, District 33   360010133001014, District 16
360010146072024, District 29    360010143024086, District 38   360010133002011, District 16
360010146072007, District 29    360010143024055, District 38   360010133002002, District 16


Block Equivalency File                      April 13, 2015                                    Page 53
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 54 of 55

360010133001008, District 16    360010138017012, District 27   360010135061024, District 20
360010132001012, District 16    360010138016006, District 27   360010135032021, District 19
360010132001007, District 16    360010138016021, District 27   360010135033008, District 20
360010133004014, District 15    360010138015008, District 27   360010135033004, District 20
360010132003020, District 15    360010135031015, District 19   360010135051011, District 21
360010132002005, District 16    360010148022046, District 39   360010135071014, District 20
360010132005005, District 15    360010148022036, District 39   360010145011079, District 38
360010148011138, District 31    360010148021011, District 39   360010145011086, District 38
360010148011130, District 39    360010148023011, District 39   360010145022048, District 38
360010148011069, District 31    360010148023015, District 39   360010145011055, District 38
360010142011014, District 34    360010148022030, District 39   360010145011056, District 38
360010143024079, District 36    360010148023047, District 39   360010145011048, District 38
360010143012003, District 36    360010148023106, District 39   360010145022070, District 38
360010143012060, District 36    360010148023053, District 39   360010145011073, District 38
360010142014007, District 36    360010148023068, District 39   360010145023025, District 38
360010142031005, District 34    360010148023099, District 39   360010145011045, District 38
360010141003016, District 34    360010148023078, District 39   360010145011098, District 33
360010141003000, District 34    360010148012070, District 39   360010145011094, District 38
360010141003017, District 34    360010148011116, District 39   360010145011042, District 38
360010142014017, District 36    360010148012078, District 39   360010145031031, District 33
360010142023038, District 33    360010148012032, District 39   360010145032018, District 33
360010142023010, District 33    360010148012018, District 39   360010145032022, District 33
360010143012001, District 36    360010148011155, District 39   360010018022013, District 11
360010142013032, District 35    360010148011086, District 39   360010018022001, District 11
360010142035015, District 38    360010148011087, District 39   360010018022009, District 11
360010142014009, District 36    360010148011159, District 39   360010002004005, District 2
360010135051017, District 21    360010139023002, District 23   360010014001009, District 5
360010135062002, District 20    360010140013019, District 26   360010011001071, District 2
360010135062019, District 20    360010137051011, District 24   360010011001062, District 2
360010140022017, District 24    360010137031136, District 22   360010011001079, District 6
360010140012011, District 26    360010140011019, District 24   360010001001017, District 3
360010140021003, District 24    360010140022000, District 24   360010001001006, District 3
360010140021006, District 24    360010140022005, District 24   360010004034049, District 11
360010140024000, District 25    360010135083028, District 19   360010004034048, District 11
360010137031010, District 22    360010135061021, District 20   360010018011005, District 11
360010140011006, District 24    360010135071008, District 22   360010018011003, District 11
360010135083048, District 19    360010135061020, District 20   360010018012021, District 10
360010138021015, District 22    360010138017007, District 27   360010018015003, District 9
360010137031116, District 23    360010137051016, District 24   360010017004007, District 10
360010138017004, District 27    360010135082035, District 22   360010017004009, District 10
360010135062013, District 20    360010135083038, District 22   360010018013012, District 10
360010135062000, District 20    360010135063009, District 20   360010018013003, District 10
360010135081003, District 18    360010135081015, District 19   360010018013008, District 8


Block Equivalency File                      April 13, 2015                                    Page 54
            Case 1:11-cv-00736-LEK-CFH Document 432-2 Filed 04/14/15 Page 55 of 55

360010018013006, District 10    360010018015002, District 9
360010004031006, District 13    360010023001000, District 6
360010004032000, District 13    360010004034017, District 11
360010004032001, District 13    360010003003027, District 3
360010001001041, District 3     360010017003007, District 10
360010137061022, District 25    360010011001085, District 6
360010136021006, District 14    360010018013000, District 10
360010137072027, District 23    360010004041019, District 12
360010139023016, District 26    360010004041008, District 12
360010137031057, District 22    360010140011026, District 24
360010135083063, District 19    360010137031052, District 22
360010137031126, District 26    360010136015007, District 15
360010135071002, District 22    360010140013000, District 26
360010135061052, District 16    360010135072011, District 22
360010137071013, District 23    360010135031014, District 19
360010135052011, District 21    360010136021061, District 14
360010135061006, District 16    360010137072041, District 23
360010135061046, District 16    360010135083023, District 19
360010140011008, District 24    360010137031104, District 23
360010135081004, District 18    360010137031074, District 22
360010147001064, District 39    360010136021023, District 14
360010147001046, District 31    360010136012001, District 14
360010147001078, District 39    360010138016023, District 27
360010147002092, District 39    360010139011011, District 26
360010147001041, District 31    360010135083075, District 20
360010147002029, District 31    360010140012005, District 26
360010147002111, District 31    360010137031115, District 23
360010147002028, District 31    360010137073017, District 23
360010147002065, District 31    360010138017027, District 27
360010147002045, District 31    360010137031063, District 22
360010020001001, District 8     360010135081002, District 18
360010022001001, District 5     360010147002059, District 31
360010001001011, District 3     360010147002056, District 31
360010004034000, District 12    360010147002066, District 31
360010008001007, District 2     360010145023023, District 38
360010004034034, District 11    360010145012000, District 33
360010004034002, District 12    360010145032014, District 33
360010020005013, District 9     360010145022006, District 38
360010002001034, District 3     360010145021027, District 38
360010004034019, District 11    360010145011083, District 38
360010014003009, District 5     360010145011031, District 38
360010004041013, District 12
360010003001039, District 11


Block Equivalency File                      April 13, 2015                           Page 55
